Case 3:22-cv-03131-JCS   Document 176-1   Filed 08/02/24   Page 1 of 86




             EXHIBIT 1
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                   Case 3:22-cv-03131-JCS       Document 176-1    Filed 08/02/24   Page 2 of 86




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        8                                    UNITED STATES DISTRICT COURT

        9                               FOR THE DISTRICT OF NORTHERN CALIFORNIA
      10                                        SAN FRANCISCO DIVISION
      11
      12     BRAYDEN STARK, JUDD OOSTYEN,                     Case No. 3:22-CV-03131-JCS
             ISAAC BELENKIY, VALERIE BURTON,
      13     LAURA GOODFIELD, and DENOVIAS                    CLASS ACTION SETTLEMENT
             MACK, individually and on behalf of all others   AGREEMENT AND RELEASE
      14
             similarly situated,
      15                                                      The Honorable Joseph C. Spero
                              Plaintiffs,
      16           v.
      17
             PATREON, INC.,
      18
                              Defendant.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1         Filed 08/02/24      Page 3 of 86




        1            This Class Action Settlement Agreement and Release dated August , 2024 (the
        2    “Agreement”), is made and entered into by and among: (i) Plaintiffs Brayden Stark, Judd Oostyen,
        3    Isaac Belenkiy, Valerie Burton, Laura Goodfield, and Denovias Mack (“Plaintiffs”) on behalf of
        4    themselves and each of the members of the Class (as defined herein), and (ii) Defendant Patreon, Inc.
        5    (“Patreon” or “Defendant”) (collectively, the “Parties”). The Agreement is intended to fully, finally,
        6    and forever resolve, discharge, and settle the Released Claims (as defined herein) as against the
        7    Releasing Defendant (as defined herein) and compensate Plaintiffs and Class Members for claimed
        8    damages, subject to the approval of the Court and the terms and conditions set forth in this Agreement.
        9    I.      RECITALS
      10             WHEREAS, on May 27, 2022, Plaintiffs Brayden Stark and Judd Oostyen filed a class action
      11     complaint against Patreon in the United States District Court for the Northern District of California,
      12     captioned Stark et al. v. Patreon, Inc., Case No. 3:22-CV-03131-JCS, asserting claims, including claims
      13     for alleged violations of the Video Privacy Protection Act, 18 U.S.C. § 2710 (“VPPA”) (Dkt. No. 1);
      14             WHEREAS, on October 13, 2022, the Court issued an Order granting in part and denying in part
      15     a motion by Patreon to dismiss the class action complaint (Dkt. No. 40);
      16             WHEREAS, on October 27, 2022, Plaintiffs Brayden Stark and Judd Oostyen filed a First
      17     Amended Complaint (Dkt. No. 41);
      18             WHEREAS, on February 17, 2023, the Court issued an Order granting in part and denying in part
      19     a motion by Patreon to dismiss the First Amended Complaint (Dkt. No. 59);
      20             WHEREAS, on January 30, 2024, Plaintiffs filed a Second Amended Complaint adding Plaintiffs
      21     Isaac Belenkiy, Valerie Burton, Laura Goodfield, and Denovias Mack (Dkt. No. 121), a copy of which
      22     is attached as Exhibit 1;
      23             WHEREAS, the Parties mediated before the Honorable Jeremy D. Fogel (Ret.) on June 27, 2023,
      24     November 20, 2023, March 5, 2024, and April 16, 2024;
      25             WHEREAS, the parties fully briefed and argued a motion filed by Patreon seeking summary
      26     judgment on the grounds that the VPPA violates the First Amendment of the U.S. Constitution, which
      27     motion was taken under submission by the Court at the close of the motion hearing on April 12, 2024;
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1             Filed 08/02/24       Page 4 of 86




        1            WHEREAS, Plaintiffs represent that they were prepared to file their class certification motion
        2    with associated expert reports by April 29, 2024;
        3            WHEREAS, the Parties reached an agreement in principle to settle this litigation on April 26,
        4    2024, shortly before Plaintiffs’ motion for class certification otherwise would have been due, and when
        5    Patreon’s aforementioned motion for summary judgment had been taken under submission and was
        6    pending before the Court;
        7            WHEREAS, Plaintiffs have conducted discovery, including depositions of eight Patreon then-
        8    current or former employees and two nonparties, 48 document requests, 11 interrogatories, and 17
        9    requests for admission, and engaged expert witnesses and consultants;
      10             WHEREAS, in entering into this Agreement, Plaintiffs recognize and acknowledge the expense
      11     and time it would take to prosecute this action through trial and any subsequent appeals, and the risk that
      12     this action could ultimately be unsuccessful in light of Patreon’s defenses;
      13             WHEREAS, Patreon has asserted and would assert numerous defenses to the claims alleged by
      14     Plaintiffs, and expressly denies each of the claims asserted by Plaintiffs against Patreon and any and all
      15     liability arising out of the conduct alleged by Plaintiffs;
      16             WHEREAS, Patreon acknowledges that further litigation of this action could be protracted and
      17     expensive, and has taken into account the uncertainty and risks inherent in any litigation, including a
      18     proposed class action;
      19             WHEREAS, by entering into this Agreement, Patreon does not admit any wrongdoing, and this
      20     Agreement is not and will not constitute an admission of liability by Patreon; and
      21             WHEREAS, Plaintiffs and Patreon have therefore each independently determined that it is
      22     desirable and beneficial for this action to be fully and finally resolved in the manner and upon the terms
      23     and conditions set forth in this Agreement.
      24             NOW, THEREFORE, IT IS HEREBY STIPULATED AND AGREED by and among Plaintiffs
      25     (for themselves and the Class Members) and Patreon, by and through its counsel, that, subject to the
      26     approval of the Court, the Litigation and the Released Claims will be finally and fully compromised,
      27     settled, and released, and the Litigation will be dismissed with prejudice, as to all Parties and their Related
      28     Parties (as defined below), upon and subject to the terms and conditions of the Agreement, as follows.


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1            Filed 08/02/24      Page 5 of 86




        1    II.     TERMS OF AGREEMENT
        2            1.       Definitions
        3            As used in the Agreement, the following terms have the meanings specified below:
        4            1.1      “Action” or “Litigation” means Stark et al. v. Patreon, Inc., Case No. 3:22-CV-03131-
        5    JCS, pending in the United States District Court for the Northern District of California.
        6            1.2      “Agreement,” “Settlement Agreement,” or “Settlement” means this Class Action
        7    Settlement Agreement and Release.
        8            1.3      “Approved Claim” means a Claim Form submitted by a Class Member that: (a) is
        9    submitted timely and in accordance with the directions on the Claim Form; (2) is fully and truthfully
      10     completed by a Class Member with all of the information requested on the Claim Form; (3) is signed by
      11     the Class Member, physically or electronically; and (4) is approved by the Claims Administrator under
      12     the provisions of this Agreement, including its incorporated exhibits.
      13             1.4      “Approved Claimant” means any Class Member whose claim has been allowed as an
      14     Approved Claim.
      15             1.5      “Claimant” means a person who submits a Claim.
      16             1.6      “Claims Administrator” means Simpluris Inc., or such other notice and claims
      17     administrator as the Court approves.
      18             1.7      “Claims Deadline” means 100 days after Preliminary Approval.
      19             1.8      “Claim Form” means a document, substantially in the form of Exhibit 2 hereto, that a
      20     Class Member must complete and submit to receive a payment from the Net Settlement Fund.
      21             1.9      “Class” means all persons who, between April 1, 2016, to and through the Preliminary
      22     Approval date, requested or obtained video content on the Patreon website (patreon.com) while in the
      23     United States and at a time the person had a Facebook account and also had a Patreon account. The
      24     Class excludes Patreon, its parents, subsidiaries, affiliates, officers, directors, and employees; any entity
      25     in which Patreon has a controlling interest; and all judges assigned to hear any aspect of this litigation,
      26     as well as their staff and immediate family members.
      27             1.10     “Class Member” means a person who falls within the definition of the Class and does not
      28     exercise his or her right to opt out of the Settlement before the Opt-Out Deadline.


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1            Filed 08/02/24       Page 6 of 86




        1            1.11     “Class Counsel” means Girard Sharp LLP.
        2            1.12     “Court” means the United States District Court for the Northern District of California.
        3            1.13     “Defendant” means Patreon, Inc.
        4            1.14     “Defendant’s Counsel” means The Norton Law Firm PC.
        5            1.15     “Effective Date,” or the date upon which this Settlement becomes “effective,” means the
        6    date the Court has entered the Final Order and Judgment and the Final Order and Judgment has been
        7    upheld through the resolution of all appeals and writs of certiorari, if any, and through the expiration of
        8    all time to appeal and file writs of certiorari, except that the Effective Date will not be delayed or
        9    modified by an appeal from those parts of the Final Order and Judgment that pertain solely to any award
      10     of attorneys’ fees or expenses.
      11             1.16     “Escrow Account” means the interest-bearing account constituting a qualified settlement
      12     fund, as defined in Treasury Regulation § 1.468B-1 et seq., to be mutually selected by the Parties and
      13     opened by the Claims Administrator and maintained by the Escrow Agent, subject to the continuing
      14     jurisdiction of the Court.
      15             1.17     “Escrow Agent” means Huntington Bank, NA.
      16             1.18     “Fee and Expense Award” means the order awarding attorneys’ fees and reimbursement
      17     of litigation expenses incurred by Class Counsel in the Litigation.
      18             1.19     “Final Approval Hearing” means the hearing before the Court where the Parties will
      19     request that the Court enter the Final Order and Judgment, approving the Settlement Agreement, the
      20     Plan of Allocation, the Fee and Expense Award, and the Service Awards to the Class Representatives.
      21             1.20     “Final Order and Judgment” or “Final Approval Order” means an order, substantially in
      22     the form of Exhibit 5 hereto, to be entered by the Court in this Action granting final approval of this
      23     Settlement Agreement and dismissing the Litigation with prejudice.
      24             1.21     “Net Settlement Fund” means the Settlement Fund, less attorneys’ fees and expenses and
      25     Class Representative Service Awards that may be approved by the Court, less Notice and
      26     Administration Expenses, less any taxes due on earnings on the Settlement Fund, less any expenses
      27     related thereto, and less any other Court-approved deductions.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1            Filed 08/02/24       Page 7 of 86




        1            1.22     “Notice” means the Notice of Proposed Settlement of Class Action, which, subject to
        2    approval of the Court, will be substantially in the form attached as Exhibit 3 hereto.
        3            1.23     “Notice Date” means 25 calendar days after Preliminary Approval.
        4            1.24     “Notice and Administration Expenses” means reasonable costs and expenses incurred by
        5    the Claims Administrator in connection with providing Notice (including CAFA notice), processing and
        6    distributing claims, responding to inquiries from members of the Class, and related services. For the
        7    avoidance of doubt, no portion of the Notice and Administration Expenses shall include fees of Class
        8    Counsel.
        9            1.25     “Objection or Opt-Out Deadline” means 100 days after Preliminary Approval.
      10             1.26     “Patreon” means Defendant Patreon, Inc.
      11             1.27     “Person” means an individual, corporation, limited liability corporation, professional
      12     corporation, partnership, limited partnership, limited liability partnership, association, joint stock
      13     company, joint venture, estate, legal representative, trust, unincorporated association, government or any
      14     political subdivision or agency thereof, any business or legal entity, and any of their heirs, successors,
      15     representatives, or assigns.
      16             1.28     “Plaintiffs” or “Class Representatives” means Brayden Stark, Judd Oostyen, Isaac
      17     Belenkiy, Valerie Burton, Laura Goodfield, and Denovias Mack.
      18             1.29     “Plan of Allocation” means the plan for allocating the Net Settlement Fund as described
      19     in Section 3 of this Agreement.
      20             1.30     “Preliminary Approval Order” means the Order Preliminarily Approving Settlement and
      21     Providing for Notice, substantially in the form attached as Exhibit 4 hereto.
      22             1.31     “Preliminary Approval” means the date on which the Preliminary Approval Order is
      23     entered.
      24             1.32     “Related Parties” means, as applicable, each of a person or entity’s respective present and
      25     former parents, subsidiaries, divisions, affiliates, and each of their and a person or entity’s respective
      26     present and former employees, members, partners, principals, agents, officers, directors, controlling
      27     shareholders, attorneys, agents, related or affiliated entities, predecessors, successors, spouses, estates,
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1             Filed 08/02/24      Page 8 of 86




        1    heirs, executors, trusts, trustees, administrators, representatives, and assigns, in their capacity as such,
        2    and any entity in which such a person or entity has a controlling interest.
        3            1.33     “Released Claims” means all claims by Class Members, whether federal or state, known
        4    or unknown, asserted or unasserted, regardless of legal theory, arising out of any facts, transactions,
        5    events, matters, occurrences, acts, disclosures, statements, representations, omissions and failures to act
        6    regarding the alleged disclosures of the Class Members’ personally identifiable information and video
        7    viewing or requesting behavior that were brought or could have been brought in the Action, including
        8    but not limited to claims under the VPPA, claims under California’s Unfair Competition Law, and
        9    claims for unjust enrichment.
      10             1.34     “Released Defendant” and “Releasing Defendant” means Patreon and its Related Parties.
      11             1.35     “Released Plaintiffs” and “Releasing Plaintiffs” means Plaintiffs and each Class Member.
      12             1.36     “Releasing Defendant’s Claims” means all claims and causes of action, whether known
      13     or unknown, whether arising under federal, state, common, or foreign law, solely to the extent that such
      14     claims arise out of or relate to the institution, prosecution, or settlement of the Litigation or the Released
      15     Claims against the Released Defendant. Notwithstanding the foregoing, “Releasing Defendant’s Claims”
      16     does not include claims relating to the enforcement of the Settlement.
      17             1.37     “Releasing Parties” means the Releasing Defendant and the Releasing Plaintiffs.
      18             1.38     “Service Awards” mean the awards sought by Class Representatives, subject to Court
      19     approval, in consideration for their service during the course of the Action.
      20             1.39     “Settlement Amount” means $7,250,000.00, which amount was deposited by Defendant
      21     into an interest-bearing direct deposit account on May 13, 2024, which interest accrued for the benefit
      22     of the Class, and was then transferred (along with earned interest) to a separate account (“Holding
      23     Account”) and invested in a money market mutual fund (namely, FSIXX) on or about June 13, 2024,
      24     and has been maintained thereafter in that account for the benefit of the Class, and which continues to
      25     accrue interest (through the money market mutual fund) for the benefit of the Class, and which
      26     Defendant will transfer (along with earned interest) to the Escrow Account within 7 days after the Court
      27     enters the Final Order and Judgment granting final approval of this Settlement Agreement.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                   Case 3:22-cv-03131-JCS       Document 176-1           Filed 08/02/24      Page 9 of 86




        1            1.40     “Settlement Fund” means the non-reversionary cash fund consisting of the Settlement
        2    Amount, together with accrued interest thereon, less the advance for Notice and Administration
        3    Expenses (paragraph 2.2). The Parties agree that the Settlement Fund is intended to be at all times a
        4    “qualified settlement fund” within the meaning of Section 1.468B-1 et seq. of the Treasury Regulations
        5    promulgated under Section 468B of the Internal Revenue Code of 1986, as amended, from the earliest
        6    date possible, and further agree to any relation-back election (as described in Treas. Reg. §1.468B-1(j))
        7    required to treat the Settlement Fund as a “qualified settlement fund” from the earliest date possible. The
        8    Settlement Fund will be maintained by the Escrow Agent with permissions granted to the Claims
        9    Administrator to access said funds until such time as the payments set forth herein are made. The
      10     Settlement Fund includes all interest that will accrue on the sums deposited in the Escrow Account. The
      11     Claims Administrator, as administrator of the Settlement Fund within the meaning of Treasury
      12     Regulation § 1.468B-2(k)(3), will be responsible for all tax filings with respect to any earnings on the
      13     Settlement Fund and the payment of all taxes that may be due on such earnings. Counsel for Defendant
      14     agrees to provide promptly to the Claims Administrator the statement described in Treasury Regulation
      15     § 1.468B-3(e). Neither the Class Representatives, Class Counsel, Defendant, nor Defendant’s Counsel
      16     will have any liability or responsibility for any tax arising with respect to the Settlement Fund.
      17             1.41     “Unknown Claims” means claims that could have been raised in the Action and that any
      18     or all of the Releasing Parties do not know or suspect to exist, which, if known by him or her, might
      19     affect his or her agreement to release the Released Parties or the Released Claims or might affect his or
      20     her decision to agree, object or not to object to the Settlement. Upon the Effective Date, the Releasing
      21     Parties will be deemed to have, and will have, expressly waived and relinquished, to the fullest extent
      22     permitted by law, the provisions, rights, and benefits of Section 1542 of the California Civil Code,
      23     which provides as follows:
      24             A general release does not extend to claims that the creditor or releasing party does
                     not know or suspect to exist in his or her favor at the time of executing the release and
      25             that, if known by him or her, would have materially affected his or her settlement
      26             with the debtor or released party.

      27     Upon the Effective Date, the Releasing Parties also will be deemed to have, and will have, waived any
      28     and all provisions, rights and benefits conferred by any law of any state or territory of the United States,


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1             Filed 08/02/24       Page 10 of 86




        1    or principle of common law, or the law of any jurisdiction outside of the United States, which is similar,
        2    comparable or equivalent to Section 1542 of the California Civil Code. The Releasing Parties
        3    acknowledge that they may discover facts in addition to or different from those that they now know or
        4    believe to be true with respect to the subject matter of this release, but that it is their intention to finally
        5    and forever settle and release the Released Claims, notwithstanding any Unknown Claims they may have,
        6    as that term is defined in this Paragraph.
        7            2.       Settlement Relief
        8            2.1      Defendant deposited the Settlement Amount ($7,250,000.00) into an interest-bearing
        9    account on May 13, 2024, and then transferred such amount (including interest earned) into a separate
      10     trading account and invested the funds in a money market mutual fund (namely, FSIXX) on or about
      11     June 13, 2024, and Defendant will maintain the money market mutual fund shares in the Holding
      12     Account for the benefit of the Class, subject to Paragraphs 2.2 and 2.3 below. Within 7 days after the
      13     Court enters the Final Order and Judgment, Defendant will sell the money market mutual fund shares in
      14     the Holding Account for U.S. dollars and then transfer the funds (with all earned interest) to the Escrow
      15     Account. Defendant will make no further payments in connection with this Agreement.
      16             2.2      Upon Preliminary Approval, an amount totaling $58,953.20 for initial costs associated
      17     with Notice and Administration Expenses will be disbursed by Defendant from the Holding Account to
      18     the Claims Administrator. To the extent the disbursement thereafter is actually expended on Notice and
      19     Administration Expenses, the amount expended will not be returned to Defendant, and Defendant will
      20     have no claim for reimbursement of that amount.
      21             2.3      If Final Approval is granted, no portion of the Settlement Fund or Net Settlement Fund
      22     will revert to Defendant; but if Final Approval is not granted, the balance of the Holding Account, plus
      23     any interest earned, will be returned to Defendant within 10 days after the Court enters its order denying
      24     Plaintiffs’ motion for final approval of the settlement.
      25             2.4      In addition to agreeing to pay the Settlement Amount, Patreon has removed or disabled
      26     the Meta Pixel from any web page on the Patreon website that includes video content as of the Effective
      27     Date.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 11 of 86




        1            2.5      Patreon further agrees not to re-install or operate the Meta Pixel on any web page on the
        2    Patreon website that includes video content, except if: (a) the VPPA is amended in relevant part,
        3    repealed, or otherwise invalidated; (b) Patreon obtains consent in the form required by the VPPA, 18
        4    U.S.C. § 2710(b)(2)(B); or (c) the installed Meta Pixel otherwise complies with the VPPA.
        5            3.       Allocation of the Settlement Fund
        6            3.1      Class Members will have until the Claims Deadline to submit a Claim.
        7            3.2      There will be one Claim Form, and each Class Member may submit one claim.
        8    The Claim Form will require an attestation under oath that the Claimant accessed video content on
        9    Patreon.com while the Claimant had an active Facebook account and that all information provided is
      10     true and correct to the best of the Claimant’s knowledge.
      11             3.3      The Claim Form will require that a Class Member support their claim by providing the
      12     link associated with the Class Member’s Facebook profile. The Notice and Settlement Website will
      13     provide instructions to Class Members regarding how to access this information.
      14             3.4      The Claims Administrator will audit a sample of claims. If the Claims Administrator
      15     determines a Claim is inadequately supported, suspicious, or contains indicia of fraud, the Claims
      16     Administrator may disallow the claim or request additional supporting documentation, including
      17     documentation showing that the Claimant accessed video content on patreon.com while he or she had a
      18     Facebook account.
      19             3.5      The Settlement Administrator will give Claimants a reasonable opportunity to cure
      20     defective claim submissions during a period of up to 60 days (“Cure Period”).
      21             3.6      The Claims Administrator will have the discretion (but not the obligation) to accept late-
      22     submitted claims for processing by the Claims Administrator, provided the distribution of the Net
      23     Settlement Fund to Approved Claimants will not be materially delayed thereby.
      24             3.7      For each claim, the Claims Administrator will make the final determination as to whether
      25     the claim is an Approved Claim. The parties will have no role in, nor will they be held liable in any way
      26     for, the determination of monetary relief to be accorded each Claimant.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 12 of 86




        1             3.8     After review of all claims and after expiration of the Cure Period, the Claims
        2    Administrator will determine the total number of Approved Claims, divide the Net Settlement Fund by
        3    the number of Approved Claims, and distribute equal shares to each Approved Claimant.
        4             3.9     The determination of the validity of Claims and the proper amount of the payment to a
        5    Claimant is the sole responsibility of the Claims Administrator. No Party to this Agreement will be
        6    deemed in default of its obligations due to a dispute between a Claimant and the Claims Administrator,
        7    including a dispute over the amount of a payment or the return of a payment due to the death or
        8    unavailability of a Class Member. If a Class Member believes that a determination made by the Claims
        9    Administrator requires correction, the Class Member may seek correction pursuant to the following
      10     process:
      11                                a)   A Claimant who objects to the Claims Administrator’s determination of
      12     his or her claim must so notify the Claims Administrator within thirty (30) days after the date that the
      13     Claims Administrator mailed or emailed the determination to the Claimant. The Claimant must provide
      14     a written statement setting forth the basis for his or her disputed claim. Any disputed claim that is not
      15     postmarked or emailed within that thirty (30) day period will be waived.
      16                                b)   Upon the timely submission of a disputed claim, the Claims
      17     Administrator, and the objecting Claimant, will have thirty (30) days to attempt to resolve the disputed
      18     claim by agreement. At the end of this thirty (30) day period, the Claims Administrator will provide the
      19     Claimant with its written notice of its decision regarding the disputed claim. The decision of the Claims
      20     Administrator will be binding and not subject to further review or appeal.
      21                                c)   No person will have any claim against the Parties or their counsel or the
      22     Claims Administrator, or any other person designated by Class Counsel, based on conduct or
      23     communications substantially in accordance with this Settlement Agreement or further order(s) of the
      24     Court.
      25              3.10    The Claims Administrator will provide the Parties with weekly written reports, beginning
      26     on the Notice Date and continuing until submission of the final post-distribution accounting (and
      27     thereafter upon request), summarizing all statistics and actions taken by the Claims Administrator in
      28     connection with administering the Settlement.


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 13 of 86




        1            3.11     All cash payments to Approved Claimants that have not been deposited within 90 days
        2    after the date of issuance will be redistributed pro rata, after deducting necessary settlement
        3    administration expenses from such uncashed funds, to all Class Members who deposited a check or were
        4    paid by electronic payment (e.g., Venmo, Zelle, etc.) during the initial distribution; but if such a pro rata
        5    redistribution would result in each such Class Member receiving less than $10, the uncashed funds will
        6    be distributed, subject to Court approval, to a non-profit organization focused on consumer privacy
        7    protection that has not filed an amicus brief in this Action or in any other action alleging claims under
        8    the Video Privacy Protection Act.
        9            4.       Releases
      10             4.1      Upon the Effective Date, all Releasing Plaintiffs and anyone claiming through or on
      11     behalf of any of them, will be deemed to have fully, finally, and forever released, relinquished, and
      12     discharged all Released Claims (including Unknown Claims) against the Released Defendant. Upon the
      13     Effective Date, the Releasing Plaintiffs will be forever barred and enjoined from commencing,
      14     instituting, prosecuting, or continuing to prosecute any action or other proceeding in any court of law or
      15     equity, arbitration tribunal, or administrative forum, asserting any Released Claim against any Released
      16     Defendant. Releasing Plaintiffs are aware of California Civil Code § 1542 and expressly waive and
      17     relinquish any rights or benefits available to them under this statute.
      18             4.2      Upon the Effective Date, the Releasing Defendant will be deemed to have fully, finally,
      19     and forever released, relinquished, and discharged all Releasing Defendant’s Claims (including
      20     Unknown Claims) against Released Plaintiffs, and Class Counsel, whether arising under federal, state,
      21     common or foreign law. Upon the Effective Date, the Releasing Defendant will be forever barred and
      22     enjoined from commencing, instituting, prosecuting, or continuing to prosecute any action or other
      23     proceeding in any court of law or equity, arbitration tribunal, or administrative forum, asserting the
      24     Releasing Defendant’s Claims against any of the Released Plaintiffs, and Class Counsel.
      25             4.3      All Persons granting any release pursuant to sections 4.1 and 4.2 above covenant not to
      26     sue with respect to all Claims released by such Person.
      27             4.4      All Persons granting any release pursuant to sections 4.1 and 4.2 above will be
      28     permanently barred and enjoined from asserting, commencing, prosecuting, instituting, assisting,


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
                                            CASE NO. 3:22-CV-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1            Filed 08/02/24      Page 14 of 86




        1    instigating, or in any way participating in the commencement or prosecution of any action or other
        2    proceeding, in any forum, asserting any claim released by them under the releases in sections 4.1 and
        3    4.2, in any capacity, against any of the Released Parties.
        4             4.5     No person will have any claim of any kind against the Parties or their counsel or the
        5    Claims Administrator with respect to the Settlement and the matters set forth herein, or based on
        6    determinations or distributions made substantially in accordance with this Agreement, the Final Order
        7    and Judgment, or further order(s) of the Court.
        8             5.      Obtaining Court Approval of the Agreement
        9             5.1     Promptly after execution of the Agreement, Plaintiffs will submit the Agreement,
      10     including its incorporated Exhibits, to the Court and will apply for entry of the Preliminary Approval
      11     Order.
      12              5.2     Pursuant to 28 U.S.C. § 1715, within ten days after this Agreement is filed with the
      13     Court, the Claims Administrator will cause notice of the Settlement to be sent to the Attorneys General
      14     of each State in which Class Members reside, the Attorney General of the United States, and any other
      15     required government officials.
      16              5.3     In accordance with the schedule set under the Preliminary Approval Order, Class Counsel
      17     will draft the motion for final approval, and the Fee and Expense Application, and will appear at the
      18     Final Approval Hearing.
      19              5.4     Any order or proceeding relating to the Plan of Allocation, or to the Fee and Expense
      20     Application, will not operate to terminate or cancel the Agreement or affect the finality of the Court’s
      21     Final Order and Judgment.
      22              5.5     If the Settlement is not approved by the Court or otherwise fails to become effective in
      23     accordance with its terms, the Parties will be restored to their respective positions in the Litigation as of
      24     April 26, 2024 and will jointly propose a revised schedule for briefing Plaintiffs’ class certification
      25     motion and other case deadlines. In such event, the terms and provisions of the Agreement (with the
      26     exception of Paragraphs 2.2 and 2.3) will be null and void and will not be used in the Litigation or in
      27     any other proceeding for any purpose, and any judgment or order entered by the Court in accordance
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 15 of 86




        1    with the terms of the Agreement will be treated as vacated, nunc pro tunc, and will not be used in the
        2    Litigation or in any other proceeding for any purpose.
        3            6.       Notice and Settlement Administration
        4            6.1      Within seven business days after Preliminary Approval, Patreon will provide the Claims
        5    Administrator with reasonably necessary Class Member information for purposes of effecting the Notice
        6    (to the extent Patreon has such information). This information provided by Patreon will include names
        7    and email addresses that Patreon has for all potential Class Members. Prior to providing this
        8    information, Patreon will have an opportunity to verify and approve the information security protocol of
        9    the Claims Administrator, which approval will not be unreasonably withheld.
      10             6.2      Following Preliminary Approval, no later than the Notice Date, the Claims Administrator
      11     will send Notice via email substantially in the form attached as Exhibit 6, along with an electronic link
      12     to the Claim Form, substantially in the form attached as Exhibit 2, to all potential Class Members for
      13     whom a valid email address is available. To the extent such transmission of email notice results in
      14     “bounce-backs,” the Claims Administrator will make a second attempt to re-send the email notice where
      15     feasible.
      16             6.3      At the election of Class Counsel, and at least seven days prior to the Claims Deadline, the
      17     Claims Administrator may, on one to three occasions, send Notice via email substantially in the form
      18     attached as Exhibit 6 (with minor, non-material modifications to indicate this is a reminder email), along
      19     with an electronic link to the Claim Form, substantially in the form attached as Exhibit 2, to all potential
      20     Class Members for whom a valid email address is available.
      21             7.       Objections and Opt-Outs
      22             7.1      Any objections from Class Members regarding the Settlement must be submitted in
      23     writing to the Court no later than the Objection or Opt-Out Deadline, in accordance with the procedures
      24     set forth in the Preliminary Approval Order.
      25             7.2      The Parties may file responses to any timely written objections no later than 15 days after
      26     the Objection or Opt-Out Deadline, or such later time as the Court may allow.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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                  Case 3:22-cv-03131-JCS        Document 176-1             Filed 08/02/24      Page 16 of 86




        1            7.3      Any opt-out notice from a Class Member regarding the Settlement must be submitted in
        2    writing no later than the Objection or Opt-Out Deadline, in accordance with the procedures set forth in
        3    the Preliminary Approval Order.
        4            7.4      This Settlement Agreement will not bind a Class Member who timely and validly opts
        5    out of the Class. The Settlement Agreement will, however, bind any Class Member who does not timely
        6    and validly opt out of the Class. Group opt-outs, including “mass” or “class” opt-outs, are prohibited.
        7            7.5      Within 14 days after the Objection and Opt-Out Deadline, the Claims Administrator will
        8    provide Class Counsel and Defendant’s Counsel with the number of persons who have timely and
        9    validly excluded themselves from the Settlement.
      10             7.6      Defendant shall have the right, but not the obligation, in its sole discretion, to terminate
      11     this Agreement by providing written notice to Class Counsel within twenty-five (25) days of the
      12     following event: individuals comprising more than one percent (1%) of the total number of persons who
      13     were sent Notice have timely and validly opted out of the Agreement. If the Agreement is terminated,
      14     the Parties will be restored to their respective positions in the Litigation as of April 26, 2024 and will
      15     jointly propose a revised schedule for briefing Plaintiffs’ class certification motion and other case
      16     deadlines. In such event, the terms and provisions of the Agreement (with the exception of Paragraphs
      17     2.2 and 2.3) will be null and void and will not be used in the Litigation or in any other proceeding for
      18     any purpose, and any judgment or order entered by the Court in accordance with the terms of the
      19     Agreement will be treated as vacated, nunc pro tunc, and will not be used in the Litigation or in any
      20     other proceeding for any purpose.
      21             8.       Attorneys’ Fees and Expenses; Service Awards
      22             8.1      Pursuant to Fed. R. Civ. P. 23(h), Defendant agrees that Class Counsel will be entitled to
      23     an award of reasonable attorneys’ fees and expenses to be paid exclusively out of the Settlement Fund in
      24     an amount to be determined by the Court.
      25             8.2      The Parties have reached no agreement on the amount of fees and expenses that Class
      26     Counsel will seek. Defendant takes no position as to the amount of fees and expenses to be sought.
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24      Page 17 of 86




        1            8.3      Class Members will have at least 35 days to object to and oppose Class Counsel’s Fee
        2    and Expense Application by filing with the Court, and serving on Class Counsel, any objections relating
        3    to such application.
        4            8.4      Any Fee and Expense Award will be paid from the Settlement Fund within 10 days after
        5    the Court enters the Final Order and Judgment and an order of such fees and expenses, notwithstanding
        6    any timely objections or potential for appeal therefrom, or collateral attack on the Settlement or any part
        7    hereof. If, however, the Final Judgment is reversed or rendered void as a result of an appeal, Class
        8    Counsel will return such funds to the Settlement Fund.
        9            8.5      Procedures connected with the application by Class Counsel for attorneys’ fees and
      10     expenses form no part of this Settlement Agreement, and the application will be considered separately
      11     from the Court’s consideration of the fairness, reasonableness, and adequacy of this Settlement
      12     Agreement. Any order or proceeding relating to the application for attorneys’ fees and expenses, the
      13     pendency of the application, or any appeal from any such order, will not operate to terminate or cancel
      14     this Settlement or to affect or delay the finality effected by entry of the Final Order and Judgment.
      15             8.6      Class Counsel may apply for Service Awards not to exceed $7,500 for each Class
      16     Representative. This amount is not a measure of damages, but instead solely an award for the Class
      17     Representatives’ services, time, and effort on behalf of Class Members. Class Counsel will provide a
      18     Form W-9 to each Class Representative who may be awarded a Service Award, and the Claims
      19     Administrator will issue an IRS Form Misc. 1099 for such a Service Award to each such Class
      20     Representative.
      21             8.7      The Class Representatives’ approval of this Settlement Agreement is not contingent on
      22     Class Counsel applying for Service Awards or the Court approving any such application. Any order or
      23     proceeding relating to the application for Service Awards, the pendency of the application, or any appeal
      24     from such an order will not operate to terminate or cancel this Settlement Agreement, or to affect or
      25     delay the finality effected by entry of the Final Order and Judgment.
      26             8.8      Any fees and/or expenses, including the Fee and Expense Award, and/or Service Awards
      27     awarded by the Court will be paid solely from the Settlement Fund. Defendant and its Related Parties
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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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                  Case 3:22-cv-03131-JCS        Document 176-1            Filed 08/02/24      Page 18 of 86




        1    will have no responsibility for any payment of attorneys’ fees and/or expenses to Class Counsel, or any
        2    Service Award to any Plaintiff.
        3            9.       Miscellaneous Provisions
        4            9.1      The Parties acknowledge that it is their intent to consummate this Agreement, and agree
        5    to cooperate as necessary to secure Court approval of the Agreement and to implement all terms and
        6    conditions of the Agreement, and to exercise their best efforts to accomplish the foregoing terms and
        7    conditions. The Parties and their respective counsel agree that they will act in good faith and will not
        8    engage in any conduct that could frustrate the purposes of this Agreement. The Parties and their
        9    respective counsel will not make any public statement that disparages the Settlement.
      10             9.2      This Agreement is deemed to have been prepared by counsel for all Parties. Because all
      11     Parties have contributed substantially and materially to the preparation of this Agreement, it will not be
      12     construed more strictly against one Party than another, nor will the Agreement be construed against any
      13     Party on grounds that it was the drafter.
      14             9.3      The Settlement Amount and the other terms of the Settlement Agreement were negotiated
      15     in good faith by the Parties, as a result of arms’ length negotiations, and reflect a Settlement that was
      16     reached voluntarily after consultation with competent legal counsel. The Parties will not assert in any
      17     forum that the Action was brought by Plaintiff or defended by Defendant, or each or any of them, in bad
      18     faith or on a frivolous basis.
      19             9.4      The Parties acknowledge that the Action concerns allegations which, if proven, are
      20     directly connected with, and proximately result from, the customary practices of Defendant’s business.
      21     The Parties further acknowledge that the payments by Defendant under this Agreement are not paid or
      22     incurred (whether by suit, agreement, or otherwise): (a) to, or at the direction of, a government or
      23     governmental entity in relation to the violation of any law or the investigation or inquiry by such
      24     government or entity into the potential violation of any law; (b) for permanent improvements or
      25     betterments made to increase the value of any property or estate; or (c) to acquire or produce any asset
      26     (including without limitation real or personal property) or to defend or perfect title thereto.
      27             9.5      If, at any time prior to Final Approval, any Party is in material breach of the terms hereof
      28     and fails to cure such material breach within 14 days of notice, any other Party, provided that it is in


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24       Page 19 of 86




        1    substantial compliance with the terms of this Agreement, may terminate the Agreement on notice to the
        2    Party. If the Agreement is terminated, the Parties will be restored to their respective positions in the
        3    Litigation as of April 26, 2024 and will jointly propose a revised schedule for briefing Plaintiffs’ class
        4    certification motion and other case deadlines. In such event, the terms and provisions of the Agreement
        5    (with the exception of Paragraphs 2.2 and 2.3) will be null and void and will not be used in the
        6    Litigation or in any other proceeding for any purpose, and any judgment or order entered by the Court in
        7    accordance with the terms of the Agreement will be treated as vacated, nunc pro tunc, and will not be
        8    used in the Litigation or in any other proceeding for any purpose.
        9            9.6      Neither this Agreement nor the Settlement contained herein, nor any act performed or
      10     document executed pursuant to or in furtherance of the Agreement or the Settlement: (a) is or may be
      11     deemed to be or may be used as an admission of, or evidence of, the validity of any Released Claim, the
      12     truth of any of the allegations in the Litigation of any wrongdoing, fault, or liability of Defendant or its
      13     Related Parties, or that Plaintiffs or any Class Members have suffered any damages, harm, or loss; or (b)
      14     is or may be deemed to be or may be used as an admission of, or evidence of, any fault or omission on
      15     the part of Defendant or its Related Parties in any civil, criminal, or administrative proceeding in any
      16     court, administrative agency, or other tribunal.
      17             9.7      Defendant may file this Agreement and/or the Final Order and Judgment in any other
      18     action that may be brought against it in order to support a defense or counterclaim based on principles of
      19     res judicata, collateral estoppel, release, good faith settlement, judgment bar or reduction, or any theory
      20     of claim or issue preclusion or similar defense or counterclaim.
      21             9.8      All agreements made and orders entered during the course of the Litigation relating to the
      22     confidentiality of information will survive this Agreement.
      23             9.9      All of the Exhibits to the Agreement are material and integral parts hereof and are fully
      24     incorporated herein by this reference. This Agreement and its Exhibits constitute the entire agreement
      25     between the Parties related to the Settlement. No covenants, agreements, representations, or warranties
      26     of any kind have been made by any Party hereto, except as provided for herein.
      27             9.10     Where this Agreement requires notice to the Parties, such notice will be sent to the
      28     undersigned counsel: for Class Counsel, Simon Grille, Girard Sharp LLP, 601 California Street, Suite


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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                  Case 3:22-cv-03131-JCS        Document 176-1            Filed 08/02/24     Page 20 of 86




        1    1400, San Francisco, CA 94108; for Defendant, Fred Norton, The Norton Law Firm PC, 299 Third
        2    Street, Suite 200, Oakland, CA 94607.
        3            9.11     The headings herein are used for the purpose of convenience only and are not meant to
        4    have legal effect.
        5            9.12     The Agreement may be amended or modified only by a written instrument signed by or
        6    on behalf of all Parties or their respective successor(s)-in-interest.
        7            9.13     This Agreement may be executed in one or more counterparts. Signature by digital
        8    means, facsimile, or in PDF format will constitute sufficient execution of this Agreement. All executed
        9    counterparts, and each of them, will be deemed to be one and the same instrument.
      10             9.14     This Settlement Agreement will be binding upon, and inure to the benefit of, the
      11     successors and assigns of the Parties hereto and the Released Parties.
      12             9.15     This Settlement Agreement will be governed by and construed in accordance with the
      13     laws of the State of California.
      14             9.16     The Court will retain jurisdiction with respect to implementation and enforcement of the
      15     terms of this Agreement, and all Parties hereto submit to the jurisdiction of the Court for purposes of
      16     implementing and enforcing the Settlement embodied in this Agreement.
      17             IN WITNESS WHEREOF, each of the parties hereto have caused the Agreement to be executed,
      18     by their respective duly authorized representatives, on August 2, 2024.
      19
                                                                                PATREON, INC.
      20              Adam E. Polk (SBN 273000)
      21              Simon Grille (SBN 294914)                                 By: ________________________
                      Trevor T. Tan (SBN 280145)                                     Ty Layton,
      22              Reid Gaa (SBN 330141)                                          Director and Associate General
                      GIRARD SHARP LLP                                               Counsel
      23              601 California Street, Suite 1400
      24              San Francisco, CA 94108
                      Telephone: (415) 981-4800
      25              apolk@girardsharp.com
                      sgrille@girardsharp.com
      26
                      ttan@girardsharp.com
      27              rgaa@girardsharp.com

      28              Attorneys for Plaintiffs


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                               CLASS ACTION SETTLEMENT AGREEMENT AND RELEASE
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        1    Adam E. Polk (SBN 273000)
             Simon Grille (SBN 294914)
        2    Trevor T. Tan (SBN 281045)
        3    Reid Gaa (SBN 330141)
             GIRARD SHARP LLP
        4    601 California Street, Suite 1400
             San Francisco, CA 94108
        5    Telephone: (415) 981-4800
        6    apolk@girardsharp.com
             sgrille@girardsharp.com
        7    ttan@girardsharp.com
             rgaa@girardsharp.com
        8
        9    Attorneys for Plaintiffs

      10
      11                                       UNITED STATES DISTRICT COURT
      12
                                              NORTHERN DISTRICT OF CALIFORNIA
      13
      14                                                      Case No. 3:22-cv-03131-JCS
      15     BRAYDEN STARK, JUDD OOSTYEN,
             ISAAC BELENKIY, VALERIE BURTON,                  SECOND AMENDED CLASS ACTION
      16     LAURA GOODFIELD and DENOVIAS                     COMPLAINT
             MACK, individually and on behalf of all others
      17     similarly situated,
      18                                                      JURY TRIAL DEMANDED
                                Plaintiffs,
      19
                    v.                                        Hon. Joseph C. Spero
      20
      21     PATREON, INC.,

      22                        Defendant.
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                                        SECOND AMENDED CLASS ACTION COMPLAINT
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                                                         176-1  Filed01/30/24
                                                                      08/02/24 Page 2 of
                                                                                 Page 2319
                                                                                         of 86




        1            Plaintiffs, on behalf of themselves and all others similarly situated, allege as follows against
        2    Defendant Patreon, Inc. (“Patreon”):
        3                                                 INTRODUCTION
        4            1.       This is a consumer privacy action against Patreon for disclosing its digital subscribers’
        5    identities and video-viewing preferences to Meta Platforms Inc. (“Meta”), which owns the social
        6    networking website and app Facebook, in violation of the Video Privacy Protection Act (“VPPA” or
        7    “the Act”) and state law.
        8            2.       The VPPA prohibits “video tape service providers,” such as Patreon, from knowingly
        9    disclosing a consumer’s personally identifiable information (“PII”)—in particular, “information which
      10     identifies a person as having requested or obtained specific video materials or services from a video tape
      11     provider”—unless the consumer expressly consented to the disclosure in a standalone consent form.
      12             3.       Patreon collects and shares users’ personal information with Meta using a “Meta Pixel”
      13     or “Pixel”—a snippet of programming code that, once installed on a webpage, sends information to
      14     Meta.1 The Meta Pixel sends information to Meta in a data packet containing PII, such as the users’ IP
      15     address, name, email, or phone number. Meta then stores this data on its own servers.
      16             4.       The information that Patreon shares with Meta includes the user’s unique Facebook ID
      17     (“FID”) and the titles of prerecorded videos that Patreon delivered to the user for viewing. A user’s FID
      18     is linked to their Facebook profile, which generally contains a wide range of demographic and other
      19     information about the user, including pictures, personal interests, work history, relationship status, and
      20     other details.
      21             5.       Patreon discloses the user’s FID and viewing content to Meta together in a single
      22     transmission. Because the user’s FID uniquely identifies an individual’s Facebook account, Meta—and
      23     any other ordinary person—can use the FID to quickly and easily locate, access, and view the user’s
      24     corresponding Facebook profile. In simplest terms, the Pixel allows Meta to know what video content
      25     one of its users viewed on Patreon’s website.
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      27     1
              While Plaintiffs’ prior Class Action Complaint used the term “Facebook Pixel,” Meta refers to this
      28     code sequence as the “Meta Pixel.” See https://developers.facebook.com/docs/meta-pixel/ (last visited
             Oct. 24, 2022).
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                                        SECOND AMENDED CLASS ACTION COMPLAINT
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                                                Document   121 Filed
                                                         176-1  Filed01/30/24
                                                                      08/02/24 Page 3 of
                                                                                 Page 2419
                                                                                         of 86




        1            6.       At no point are Patreon users informed about Patreon’s dissemination of their individual
        2    video-watching preferences to a third party. Nor do Patreon users consent to such sharing through a
        3    standalone consent form, as required by the VPPA. As a result, Patreon violates the VPPA by disclosing
        4    this information to Meta.
        5            7.       On behalf of a Class of similarly situated Patreon users, Plaintiffs seek appropriate relief
        6    through this action. Plaintiffs also assert causes of action arising out of the same practice under
        7    California law. Based on the facts set forth in this Complaint, Patreon violates the Unfair Competition
        8    Law (“UCL”) and is liable for unjust enrichment.
        9                                                      PARTIES
      10             8.       Each Plaintiff used his or her Internet-connected device and Web-browsing software
      11     (“browser”) installed on that device to visit and watch video content on Defendant’s website,
      12     http://www.Patreon.com, during the Class Period as defined herein.
      13             9.       Plaintiff Brayden Stark is a citizen and resident of Van Nuys, California.
      14             10.      Plaintiff Judd Oostyen is a citizen and resident of Kaysville, Utah.
      15             11.      Plaintiff Isaac Belenkiy is a citizen and resident of Ithaca, New York.
      16             12.      Plaintiff Valerie Burton is a citizen and resident of Tacoma, Washington.
      17             13.      Plaintiff Laura Goodfield is a student and employed in Washington D.C., where she
      18     primarily resides. Ms. Goodfield also maintains a legal address in Boston, Massachusetts for purposes of
      19     certain government records.
      20             14.      Plaintiff Denovias Mack is a citizen and resident of Denton, Texas.
      21             15.      Defendant Patreon is a Delaware corporation headquartered at 600 Townsend Street,
      22     Suite 500, San Francisco, California 94103.
      23                                            DIVISIONAL ASSIGNMENT
      24             16.      Pursuant to Civil L.R. 3-5(b), assignment to the San Francisco Division is appropriate
      25     under Civil L.R. 3-2(c) because Patreon is headquartered in San Francisco and a substantial part of the
      26     conduct at issue in this case occurred in San Francisco County.
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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                                                                      08/02/24 Page 4 of
                                                                                 Page 2519
                                                                                         of 86




        1                                         JURISDICTION AND VENUE
        2              17.    This Court has original jurisdiction under 28 U.S.C. § 1331 based on Plaintiffs’ claims
        3    under the Video Privacy Protection Act, 18 U.S.C. § 2710. The Court has supplemental jurisdiction over
        4    Plaintiffs’ state-law claims under 28 U.S.C. § 1367.
        5              18.    This Court also has jurisdiction over this lawsuit under the Class Action Fairness Act, 28
        6    U.S.C. § 1332(d)(2), because this is a proposed class action in which: (1) there are at least 100 Class
        7    members; (2) the combined claims of Class members exceed $5,000,000, exclusive of interest,
        8    attorneys’ fees, and costs; and (3) Defendant and at least one Class member are domiciled in different
        9    states.
      10               19.    This Court has personal jurisdiction over Patreon because its principal place of business
      11     is within this District and it has sufficient minimum contacts in California to render the exercise of
      12     jurisdiction by this Court proper and necessary.
      13               20.    Venue is proper in this District under 28 U.S.C. § 1391(b) because a substantial part of
      14     the events or omissions giving rise to Plaintiffs’ claims occurred in this District.
      15                                     PLAINTIFF-SPECIFIC ALLEGATIONS
      16                                                   Brayden Stark
      17               21.    Plaintiff Stark is a Patreon member and a Facebook user. He has been a Patreon member
      18     since 2019 and is therefore a “subscriber” to Patreon under the VPPA.
      19               22.    Mr. Stark’s Facebook profile includes his name and other personal details.
      20               23.    Mr. Stark has consistently paid Patreon approximately $15.00 per month in subscription
      21     fees.
      22               24.    When he initially subscribed to Patreon, Mr. Stark watched prerecorded video content on
      23     patreon.com daily. He continues to watch prerecorded video content on the Patreon website, though not
      24     as frequently as before.
      25               25.    Mr. Stark visited Patreon’s website to request and watch prerecorded video content using
      26     the same browser that he uses to log in to Facebook, including while he was logged in to Facebook. He
      27     also uses the same device to request and watch prerecorded videos on Patreon that he uses for Facebook.
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                                        SECOND AMENDED CLASS ACTION COMPLAINT
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                                                         176-1  Filed01/30/24
                                                                      08/02/24 Page 5 of
                                                                                 Page 2619
                                                                                         of 86




        1                                                  Judd Oostyen
        2            26.      Plaintiff Oostyen is a Patreon member and a Facebook user. He has been a Patreon
        3    member since 2021 and is therefore a “subscriber” to Patreon under the VPPA.
        4            27.      Mr. Oostyen’s Facebook profile includes his name and other personal details.
        5            28.      Mr. Oostyen has consistently paid Patreon approximately $5.00 per month in subscription
        6    fees.
        7            29.      When he initially subscribed to Patreon, Mr. Oostyen watched prerecorded video content
        8    on patreon.com daily. He continues to watch prerecorded video content on the Patreon website, though
        9    not as frequently as before.
      10             30.      Mr. Oostyen visited Patreon’s website to request and watch prerecorded video content
      11     using the same browser that he uses to log in to Facebook, including while he was logged in to
      12     Facebook. He also uses the same device to request and watch prerecorded videos on Patreon that he uses
      13     for Facebook.
      14                                                   Isaac Belenkiy
      15             31.      Plaintiff Belenkiy is a Patreon member and a Facebook user. He has been a Patreon
      16     member since 2020 and is therefore a “subscriber” to Patreon under the VPPA.
      17             32.      Mr. Belenkiy’s Facebook profile includes his name and other personal details.
      18             33.      Mr. Belenkiy has consistently paid Patreon approximately $28.00 per month in
      19     subscription fees.
      20             34.      When he initially subscribed to Patreon, Mr. Belenkiy watched prerecorded video content
      21     on patreon.com monthly. He continues to watch prerecorded video content on the Patreon website,
      22     though not as frequently as before.
      23             35.      Mr. Belenkiy visited Patreon’s website to request and watch prerecorded video content
      24     using the same browser that he uses to log in to Facebook, including while he was logged in to
      25     Facebook. He also uses the same device to request and watch prerecorded videos on Patreon that he uses
      26     for Facebook.
      27             36.      Mr. Belenkiy watched prerecorded video content on Patreon’s website on a webpage
      28     dedicated to the individual video(s) he viewed.

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                                                         176-1  Filed01/30/24
                                                                      08/02/24 Page 6 of
                                                                                 Page 2719
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        1                                                   Valerie Burton
        2            37.      Plaintiff Burton is a Patreon member and a Facebook user. She has been a Patreon
        3    member since around 2018 and is therefore a “subscriber” to Patreon under the VPPA.
        4            38.      Ms. Burton’s Facebook profile includes personal details sufficient to identify her.
        5            39.      Ms. Burton has consistently paid subscription fees to Patreon to access content on
        6    Patreon’s website, including prerecorded video content.
        7            40.      When she initially subscribed to Patreon, Ms. Burton watched prerecorded video content
        8    on patreon.com weekly. She continues to watch prerecorded video content on the Patreon website,
        9    though not as frequently as before.
      10             41.      Ms. Burton visited Patreon’s website to request and watch prerecorded video content
      11     using the same browser that she uses to log in to Facebook, including while she was logged in to
      12     Facebook. She also uses the same device to request and watch prerecorded videos on Patreon that she
      13     uses for Facebook.
      14             42.      Ms. Burton watched prerecorded video content on Patreon’s website on a webpage
      15     dedicated to the individual video(s) she viewed.
      16                                                    Laura Goodfield
      17             43.      Plaintiff Goodfield is a Patreon member and a Facebook user. She has been a Patreon
      18     member since 2022 and is therefore a “subscriber” to Patreon under the VPPA.
      19             44.      Ms. Goodfield’s Facebook profile includes her name and other personal details.
      20             45.      Ms. Goodfield has consistently paid subscription fees to Patreon to access content on
      21     Patreon’s website, including prerecorded video content. Ms. Goodfield paid Patreon approximately
      22     $50.00 per year in subscription fees and previously paid a monthly subscription to Patreon.
      23             46.      When she initially subscribed to Patreon, Ms. Goodfield watched prerecorded video
      24     content on patreon.com regularly. She continues to watch prerecorded video content on the Patreon
      25     website, though not as frequently as before.
      26             47.      Ms. Goodfield visited Patreon’s website to request and watch prerecorded video content
      27     using the same browser that she uses to log in to Facebook, including while she was logged in to
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                                                                      08/02/24 Page 7 of
                                                                                 Page 2819
                                                                                         of 86




        1    Facebook. She also uses the same device to request and watch prerecorded videos on Patreon that she
        2    uses for Facebook.
        3            48.      Ms. Goodfield watched prerecorded video content on Patreon’s website on a webpage
        4    dedicated to the individual video(s) she viewed.
        5                                                   Denovias Mack
        6            49.      Plaintiff Mack is a Patreon member and a Facebook user. He has been a Patreon member
        7    since 2020 and is therefore a “subscriber” to Patreon under the VPPA.
        8            50.      Mr. Mack’s Facebook profile includes his name and other personal details.
        9            51.      Mr. Mack has consistently paid Patreon approximately $120.00 per month in subscription
      10     fees.
      11             52.      When he initially subscribed to Patreon, Mr. Mack watched prerecorded video content on
      12     patreon.com daily. He continues to watch prerecorded video content on the Patreon website, though not
      13     as frequently as before.
      14             53.      Mr. Mack visited Patreon’s website to request and watch prerecorded video content using
      15     the same browser that he uses to log in to Facebook, including while he was logged in to Facebook. He
      16     also uses the same device to request and watch prerecorded videos on Patreon that he uses for Facebook.
      17             54.      Mr. Mack watched prerecorded video content on Patreon’s website on a webpage
      18     dedicated to the individual video(s) he viewed.
      19                                                        *   *   *
      20             55.      Patreon sent Plaintiffs’ PII, including their FIDs, as well as the title of each prerecorded
      21     video they viewed, to Meta without obtaining their consent through a standalone consent form.
      22             56.      Plaintiffs value their privacy while web-browsing and watching videos.
      23             57.      Plaintiffs’ viewing preferences constitute personal information of a private and
      24     confidential nature and are assets to which no third party has a presumptive right to access.
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                                                         176-1  Filed01/30/24
                                                                      08/02/24 Page 8 of
                                                                                 Page 2919
                                                                                         of 86




        1                                           COMMON ALLEGATIONS
        2            A.       Patreon Disclosed Plaintiffs’ and Class Members’ Private Viewing Information to
                              Meta.
        3
        4            58.      Patreon’s members (“Users”) can access a variety of content on Patreon’s website,

        5    including music, podcasts, and video content posted by content creators.

        6            59.      Patreon provides and delivers prerecorded audiovisual content to its users.

        7            60.      Patreon allows content creators to upload or share prerecorded videos which Patreon

        8    users can then view on the content creator’s page. Plaintiffs requested and viewed prerecorded

        9    audiovisual content from Patreon.

      10             61.      While Plaintiffs and Class members were viewing prerecorded video content on

      11     Patreon’s website, Patreon transmitted their viewing choices to Meta.

      12             62.      Patreon’s transmission of viewing information to Meta includes the specific names of

      13     video content viewed by Users, as well as the User’s FID—a string of numbers unique to each Facebook

      14     profile that personally identifies the User.

      15             63.      Anyone who possesses an FID may use this number to quickly and easily locate, access,

      16     and view the corresponding Facebook profile, which contains personal information, often in large

      17     quantities.

      18             64.      A Facebook profile typically shows the Facebook user’s name, gender, place of

      19     residence, career, educational history, a multitude of photos, and the content of the user’s posts. This

      20     information may reveal even more sensitive personal information—for instance, posted photos may

      21     disclose the identity of family members, and written posts may disclose religious preferences, political

      22     affiliations, personal interests and more.

      23             65.      Just as Meta can easily identify any individual on its Facebook platform with only their

      24     unique FID, so too can any ordinary person who comes into possession of a FID. Facebook admits as

      25     much on its website. Thus, equipped with a FID and the video content name and URL—all of which

      26     Patreon knowingly provides to Meta without appropriate consent from its subscribers—any ordinary

      27     person could determine the identity of the Patreon subscriber and the specific video or media content

      28     they viewed on Patreon’s website.


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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                                                Document   121 Filed
                                                         176-1  Filed01/30/24
                                                                      08/02/24 Page 9 of
                                                                                 Page 3019
                                                                                         of 86




        1            66.      Patreon transmits the FID and video title to Meta in a single transmission, through an
        2    invisible tracking tool called a “Meta Pixel.” A Meta Pixel is a snippet of a programming code that, once
        3    installed on a webpage, sends information to Meta. This transmission occurs when a User views a
        4    prerecorded video on Patreon’s website.
        5            67.      The transmission is shown in the screenshots below:
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      21             68.      In the exemplar scenario above, when a Patreon subscriber visits the Patreon page of a
      22     local news channel and requests and watches a prerecorded video, the Pixel transmits both the title of the
      23     video and the subscriber’s FID (highlighted in the red boxes) to Meta.
      24             69.      The Pixel is an advertising tool that allows website owners to track visitor actions on
      25     their websites for purposes of sending the corresponding information to Meta; websites use the Pixel in
      26     hopes of better targeting their products and services on Facebook to interested consumers. Thus, a
      27     business such as Patreon chooses to install the Pixel on its website in order to increase its profits.
      28             70.      According to Meta’s website, the Pixel allows it “to match your website visitors to their

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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 10 31
                                                                                  Page  of 19
                                                                                           of 86




        1    respective Facebook User accounts” and that “[o]nce matched, we can tally their actions in the Facebook
        2    Ads Manager so you can use the data to analyze your website’s conversion flows and optimize your ad
        3    campaigns.”2
        4            71.      Patreon knew that by installing the Pixel on its website, the Pixel would send Meta
        5    information identifying its Users and their video-watching habits.
        6            72.      Meta’s website explains that, to begin using the Meta Pixel, a business must first “install”
        7    the Pixel “by placing the Meta Pixel base code on all pages of your website[.]”3 Patreon made the
        8    conscious decision to undertake this installation process.
        9            73.      Further demonstrating that Patreon knowingly placed the Pixel in its website code,
      10     Meta’s website states that “[d]evelopers and marketers can optionally choose to send information about”
      11     a visitor’s activity on its website. (Emphasis added).4
      12             74.      Meta offers its Pixel tool to websites across the internet. As of January 2022, more than
      13     30 percent of popular websites have an embedded Facebook Pixel.
      14             75.      Meta benefits from websites like Patreon installing its Pixel. When the Pixel is installed
      15     on a business’s website, the business has a greater incentive to advertise through Facebook or other
      16     Meta-owned platforms, like Instagram. In addition, even if the business does not advertise with
      17     Facebook, the Pixel assists Meta in building more fulsome profiles of its own users, which in turn allows
      18     Meta to profit from providing more targeted ads. The Pixel is installed on websites all over the internet
      19     and, accordingly, provides Meta with information about its users’ preferences, other distinguishing
      20     traits, and web-browsing activities outside of Meta-owned platforms.
      21             76.      Using the Meta Pixel likewise benefits Patreon’s business by improving its ability to
      22     promote its content and services to its Users, thereby increasing its profits.
      23             77.      Through use of the Meta Pixel, Patreon discloses to Meta the full name of each video a
      24     User watched, together with the User’s FID, thus linking Users’ viewing content choices and
      25     preferences to their Facebook profiles. In other words, this single transmission connects a User’s
      26     viewing content with their FID.
      27     2
               https://developers.facebook.com/docs/meta-pixel/get-started (last visited October 24, 2022).
             3
      28       Id.; https://www.facebook.com/business/tools/meta-pixel/get-started (last visited October 24, 2022).
             4
               https://developers.facebook.com/docs/meta-pixel (last visited October 24, 2022).
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                                                                 Filed01/30/24
                                                                       08/02/24 Page 11 32
                                                                                  Page  of 19
                                                                                           of 86




        1            78.      Patreon violates and invades the privacy rights of Users with its practice of sending their
        2    FIDs, together with their viewing content, to Meta. Plaintiffs and Class members neither knew of nor
        3    authorized, nor otherwise consented to, Patreon’s disclosure of their prerecorded video and video-
        4    services requests and their identities to Meta.
        5            B.       Patreon’s Terms of Use, Privacy Policies, and Data Practices Do Not Disclose
        6                     Patreon’s Use of the Facebook Pixel.

        7            79.      Patreon’s website includes its Terms of Use, a Privacy Policy, Data Practices, and a
        8    Cookie Policy. None of these informs Users of Patreon’s use of the Meta Pixel or its practice of sharing
        9    Users’ personal information and video content choices with Meta in a way that allows Meta to identify
      10     their specific video-watching preferences.
      11             80.      The VPPA requires that consent be obtained in a form “distinct and separate from any
      12     form setting forth other legal or financial obligations of the consumer.” 18 U.S.C. § 2710. At no point
      13     were Plaintiffs or other Patreon Users given a standalone or any consent form disclosing Patreon’s
      14     practices at issue and requesting User consent. Hence, no User knew of or consented to Patreon’s
      15     offending practice of sharing video preferences with third parties.
      16             C.       Plaintiffs and the Class Were Harmed by Patreon’s Privacy Invasions.
      17             81.      Patreon shared with Meta the personal information of Plaintiffs and Class members,
      18     including their video-viewing histories and associated FIDs, which they reasonably expected would be
      19     kept private.
      20             82.      The personal information Patreon obtained from Plaintiffs and Class members constitutes
      21     valuable data in the digital advertising-related market for consumer information. Patreon’s wrongful
      22     acquisition and use of their personal and private information deprived Plaintiffs and Class members of
      23     control over that information, and prevented them from realizing its full value for themselves.
      24             83.      Patreon’s conduct caused economic harm to Plaintiffs and Class members who were
      25     Patreon subscribers during the Class Period in that they have paid subscription fees to Patreon for
      26     services that they reasonably did not expect would subject them to the practices described herein,
      27     thereby diminishing the value of services for which they paid Defendant, and constituting loss. Plaintiffs
      28     and Class members didn’t get what they paid for.

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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 12 33
                                                                                  Page  of 19
                                                                                           of 86




        1            84.      Plaintiffs and Class members paid for access to Patreon’s website, and not another
        2    competitor’s website, because they trusted that Patreon’s privacy practices comported with their privacy
        3    preferences.
        4            85.      If Plaintiffs and Class members had known that Patreon discloses to Meta the personal
        5    information of its Users, including their video-viewing histories and associated FIDs, Plaintiffs and
        6    Class members would not have subscribed for Patreon’s services or would have paid less for the
        7    subscription.
        8            86.      Patreon’s practice of sharing Users’ personal information and prerecorded video content
        9    with Facebook without their consent, and its failure to disclose this practice, caused Patreon to profit
      10     from membership fees it would otherwise not have received.
      11             87.      Plaintiffs and Class members’ experiences and injuries are consistent with and borne out
      12     by research showing that consumers prefer to transact with online retailers that better protect their
      13     privacy, and are willing to pay a premium to purchase goods and services from websites that afford
      14     greater privacy protection. See J. Tsai, S. Egelman, L. Cranor & A. Acquisiti [Carnegie Mellon Univ.],
      15     “The Effect of Online Privacy Information on Purchasing Behavior: An Experimental Study” (June
      16     2007), Information Systems Research, Vol. 22 at 254–268, available at:
      17     https://www.researchgate.net/publication/220079706_The_Effect_of_Online_Privacy_Information_on_
      18     Purchasing_Behavior_An_Experimental_Study.
      19             88.      The harms described above are aggravated by Patreon’s continued retention and
      20     commercial use of Plaintiffs’ and Class members’ personal information, including their private video-
      21     viewing histories.
      22                                         CLASS ACTION ALLEGATIONS
      23             89.      Plaintiffs bring this lawsuit under Federal Rules of Civil Procedure 23(a), (b)(1), (b)(2),
      24     and (b)(3), and/or (c)(4) as representatives of the following Class and constituent Subclass:
      25                      Nationwide Class: All persons in the United States who subscribed to
      26                      Patreon.com, viewed prerecorded video content on Patreon.com, and used
                              Facebook during the time Meta’s Pixel was active on Patreon.com.
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                                        SECOND AMENDED CLASS ACTION COMPLAINT
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                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 13 34
                                                                                  Page  of 19
                                                                                           of 86




                              California Subclass: All persons in California who subscribed to
        1
                              Patreon.com, viewed prerecorded video content on Patreon.com, and used
        2                     Facebook during the time Meta’s Pixel was active on Patreon.com.

        3            90.      The “Class Period” is from April 1, 2016 to the present.
        4            91.      Excluded from the Class are Defendant, its employees, agents and assigns, and any
        5    members of the judiciary to whom this case is assigned, their respective court staff, the members of their
        6    immediate families, and Plaintiffs’ counsel. Plaintiffs reserve the right to modify, change, or expand the
        7    Class definition based upon discovery and further investigation.
        8            92.      Numerosity: The Class consists of at least hundreds of thousands of individuals, making
        9    joinder impractical.
      10             93.      Commonality and Predominance: Common questions of law and fact exist with regard
      11     to each of the claims and predominate over questions affecting only individual Class members.
      12     Questions common to the Class include:
      13                      a.        Whether Patreon’s use of the Meta Pixel was without User consent or
      14     authorization;
      15                      b.        Whether Patreon obtained and shared or caused to be obtained and shared
      16     Plaintiffs and Class members’ personal information through tracking using the Meta Pixel, which
      17     Patreon installed on its webpages;
      18                      c.        Whether third parties obtained Plaintiffs and Class members’ personal
      19     information as a result of Patreon’s conduct described herein;
      20                      d.        Whether Patreon’s conduct violates the Video Privacy Protection Act, 18 U.S.C.
      21     § 2710, et seq.;
      22                      e.        Whether Patreon’s conduct violates California consumer protection law;
      23                      f.        Whether Patreon’s acquisition and transmission of Plaintiffs and Class members’
      24     personal information resulted in harm; and
      25                      g.        Whether Patreon should be enjoined from engaging in such conduct in the future.
      26             94.      Typicality: Plaintiffs’ claims are typical of the claims of the Class members in that
      27     Plaintiffs, like all Class members, have been injured by Patreon’s misconduct at issue—i.e., disclosing
      28     Users’ PII and viewing content to Meta without appropriate consent.

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                                         SECOND AMENDED CLASS ACTION COMPLAINT
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                       3:22-cv-03131-JCS          Document176-1
                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 14 35
                                                                                  Page  of 19
                                                                                           of 86




        1            95.      Adequacy of Representation: Plaintiffs will fairly and adequately represent and protect
        2    the interests of the Class. Plaintiffs have retained counsel with substantial experience in prosecuting
        3    complex litigation and class actions, including privacy protection cases. Plaintiffs do not have any
        4    interests antagonistic to those of the Class.
        5            96.      Superiority: A class action is superior to other available methods for the fair and
        6    efficient adjudication of this controversy. Class-wide damages are essential to induce Patreon to comply
        7    with applicable law. Moreover, because the amount of each individual Class member’s claim is small
        8    relative to the complexity of the litigation, and because of Patreon’s financial resources, Class members
        9    are unlikely to pursue legal redress individually for the violations detailed in this Complaint. A class
      10     action will allow these claims to be heard where they would otherwise go unheard because of the
      11     expense of bringing individual lawsuits, and provides the benefits of adjudication, economies of scale,
      12     and comprehensive supervision by a single court.
      13             97.      Injunctive relief: Patreon has acted or refused to act on grounds generally applicable to
      14     the Class, thereby making appropriate final injunctive relief and corresponding declaratory relief with
      15     respect to the class as a whole.
      16                                         FIRST CAUSE OF ACTION
      17           Violation of the Electronic Communications Privacy Act (Video Privacy Protection Act),
                                                   18 U.S.C. § 2710, et seq.
      18                                      (On Behalf of the Nationwide Class)
      19             98.      Plaintiffs incorporate and reallege the above factual allegations by reference.
      20             99.      The VPPA prohibits a “video tape service provider” from knowingly disclosing
      21     “personally-identifying information” concerning any consumer to a third-party without the “informed,
      22     written consent (including through an electronic means using the Internet) of the consumer.” 18 U.S.C.
      23     § 2710.
      24             100.     As defined in 18 U.S.C. § 2710(a)(4), a “video tape service provider” is “any person,
      25     engaged in the business, in or affecting interstate commerce, of rental, sale, or delivery of prerecorded
      26     video cassette tapes or similar audiovisual materials.” Patreon is a “video tape service provider” as
      27     defined in 18 U.S.C. § 2710(a)(4) because it engaged in the business of delivering audiovisual
      28     materials—including the prerecorded videos that Plaintiffs viewed—through its online platform that are

                                                            13
                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                  Case    3:22-cv-03131-JCS
                       3:22-cv-03131-JCS          Document176-1
                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 15 36
                                                                                  Page  of 19
                                                                                           of 86




        1    similar to prerecorded video cassette tapes and those sales affect interstate or foreign commerce.
        2            101.     As defined in 18 U.S.C. § 2710(a)(3), “personally identifiable information” is defined to
        3    include “information which identifies a person as having requested or obtained specific video materials
        4    or services from a video tape service provider.”
        5            102.     Patreon knowingly caused personal viewing information, including FIDs, concerning
        6    Plaintiffs and Class members to be disclosed to Meta. This information constitutes personally
        7    identifiable information under 18 U.S.C. § 2710(a)(3) because it identified each Plaintiff and Class
        8    member to Meta as an individual who viewed Patreon’s video content, including the specific
        9    prerecorded video materials each such individual watched on Patreon’s website. This information
      10     allowed Meta to identify each Plaintiff and Class members’ specific individual video-viewing
      11     preferences and habits.
      12             103.     As defined in 18 U.S.C. § 2710(a)(1), a “consumer” means “any renter, purchaser, or
      13     subscriber of goods or services from a video tape service provider.” As alleged above, Plaintiffs are
      14     subscribers to Patreon’s services providing video content to Users on its website and viewed prerecorded
      15     videos provided on Patreon’s platform. Hence, Plaintiffs are “consumers” under this definition.
      16             104.     As set forth in 18 U.S.C. § 2710(b)(2)(B), “informed, written consent” must be (1) in a
      17     form distinct and separate from any form setting forth other legal or financial obligations of the
      18     consumer; and (2) at the election of the consumer, is either given at the time the disclosure is sought or
      19     is given in advance for a set period of time not to exceed two years or until consent is withdrawn by the
      20     consumer, whichever is sooner. Patreon failed to obtain informed, written consent under this definition.
      21             105.     Additionally, the VPPA creates an opt-out right for consumers in 18 U.S.C.
      22     § 2710(2)(B)(iii). The Act requires video tape service providers to “provide[] an opportunity, in a clear
      23     and conspicuous manner, for the consumer to withdraw on a case-by-case basis or to withdraw from
      24     ongoing disclosures, at the consumer’s election.” Patreon failed to provide an opportunity to opt out as
      25     required by the Act.
      26             106.     Patreon was aware that the disclosures to Meta that were shared through the Pixel
      27     identified Plaintiffs and Class members. Patreon also knew that Plaintiffs’ and Class members’ personal
      28     viewing content was disclosed to Meta because Patreon programmed the Meta Pixel into its website

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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                  Case    3:22-cv-03131-JCS
                       3:22-cv-03131-JCS          Document176-1
                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 16 37
                                                                                  Page  of 19
                                                                                           of 86




        1    code, knowing that Meta would receive video titles and the subscriber’s FID when a user watched a
        2    prerecorded video.
        3            107.     By knowingly disclosing Plaintiffs’ and Class members’ personal viewing content,
        4    Patreon violated Plaintiffs’ and Class members’ statutorily protected right to privacy in their prerecorded
        5    video-watching habits. See 18 U.S.C. § 2710(c).
        6            108.     As a result of the above violations, Patreon is liable to Plaintiffs and Class members for
        7    actual damages related to their loss of privacy in an amount to be determined at trial or, alternatively, for
        8    “liquidated damages not less than $2,500 per plaintiff.” 18 U.S.C. § 2710(c)(2)(A). Under the Act,
        9    Patreon also is liable for reasonable attorney’s fees, other litigation costs, injunctive and declaratory
      10     relief, and punitive damages in an amount to be determined by a jury and sufficient to prevent and deter
      11     the same or similar conduct by Patreon in the future.
      12                                         SECOND CAUSE OF ACTION
                                  Violation of California’s Unfair Competition Law (the “UCL”)
      13
                                               Cal. Bus. & Prof. Code § 17200, et seq.
      14                                       (On Behalf of the California Subclass)

      15             109.     California Plaintiffs incorporate and reallege the above factual allegations by reference.
      16             110.     The UCL proscribes “any unlawful, unfair or fraudulent business act or practice.” Cal.
      17     Bus. & Prof. Code § 17200.
      18                                                       Unlawful
      19             111.     A business practice is “unlawful” under the UCL if it violates any other law or regulation.
      20             112.     Patreon’s business acts and practices are unlawful because they violate the Video Privacy
      21     Protection Act as set forth above. They also violate California’s Consumers Legal Remedies Act, for the
      22     reasons stated below. Patreon is therefore in violation of the “unlawful” prong of the UCL.
      23                                                        Unfair
      24             113.     Patreon’s conduct is unfair in violation of the UCL because it violates California’s and
      25     the nation’s legislatively declared public policy in favor of protection of consumer privacy. See S. Rep.
      26     No. 100-500 at 7-8 (1988) (finding that “the trail of information generated by every transaction that is
      27     now recorded and stored in sophisticated record-keeping systems . . . create[s] privacy interests that
      28     directly affect the ability of people to express their opinions, to join in association with others, and to

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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                  Case    3:22-cv-03131-JCS
                       3:22-cv-03131-JCS          Document176-1
                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 17 38
                                                                                  Page  of 19
                                                                                           of 86




        1    enjoy the freedom and independence that the Constitution was established to safeguard.”); California
        2    Bill Analysis, A.B. 375 Assem. (June 27, 2017) (noting that “[t]he unregulated and unauthorized
        3    disclosure of personal information and the resulting loss of privacy can have devastating effects for
        4    individuals, ranging from financial fraud, identity theft, and unnecessary costs to personal time and
        5    finances, to the destruction of property, harassment, reputational damage, emotional stress, and even
        6    potential physical harm.”).
        7            114.     Further, Patreon’s conduct is unfair because it is unethical, unscrupulous, offensive, and
        8    substantially injurious. The gravity of harm resulting from Patreon’s unfair conduct outweighs any
        9    potential utility therefrom. The disclosure of California Plaintiffs’ and Subclass members’ personal
      10     information without their express consent raises significant privacy concerns, and any potential utility
      11     from these disclosures (such as increased Patreon revenue due to more targeted advertising) is
      12     outweighed by their considerable harm to California Plaintiffs and the Subclass.
      13             115.     Patreon’s unfair business practices include disclosing California Plaintiffs’ and Subclass
      14     members’ FIDs and viewing content to Meta without authorization or consent, causing harm to
      15     California Plaintiffs and Subclass members.
      16             116.     Patreon actually and proximately caused harm to California Plaintiffs and Subclass
      17     members in that, among other things, they suffered economic injury by overpaying for their
      18     subscriptions.
      19             117.     For these reasons, Patreon is in violation of the “unfair” prong of the UCL.
      20             118.     California Plaintiffs and Subclass members accordingly seek appropriate relief, including
      21     (1) restitution under the UCL; and (2) such orders or judgments as may be necessary to enjoin Patreon
      22     from continuing its unfair and unlawful practices. There is no adequate remedy at law that would
      23     provide redress to California Plaintiffs and the Subclass or ensure that Patreon will not engage in the
      24     same data practices in the future. California Plaintiffs also seek reasonable attorneys’ fees and costs
      25     under applicable law, including under California Code of Civil Procedure section 1021.5.
      26                                          THIRD CAUSE OF ACTION
                                                       Unjust Enrichment
      27
                                                (On Behalf of the Nationwide Class)
      28             119.     Plaintiffs incorporate and reallege the above factual allegations by reference.

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                                        SECOND AMENDED CLASS ACTION COMPLAINT
                                                CASE NO. 3:22-CV-03131-JCS
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                  Case    3:22-cv-03131-JCS
                       3:22-cv-03131-JCS          Document176-1
                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 18 39
                                                                                  Page  of 19
                                                                                           of 86




        1              120.   Plaintiffs and Class members conferred a benefit on Patreon by paying it membership
        2    fees for online subscription services.
        3              121.   Patreon acted wrongfully by sharing Users’ FIDs and viewing content to Meta without
        4    their consent.
        5              122.   Patreon’s practice of sharing Users’ personal information and viewing content with Meta
        6    without their consent, and its failure to disclose this practice, caused Patreon to profit from membership
        7    fees it would otherwise not have received.
        8              123.   Patreon’s retention of these ill-gotten gains is unjust and inequitable.
        9              124.   Plaintiffs, on behalf of themselves and the Class, accordingly seek restitution,
      10     restitutionary disgorgement, and all other appropriate relief permitted by the law of unjust enrichment,
      11     including reasonable attorneys’ fees and costs. There is no adequate remedy at law that would provide
      12     redress to Plaintiffs and the Class or ensure that Patreon will not deploy the same data practices in the
      13     future.
      14                                                 PRAYER FOR RELIEF
      15               WHEREFORE, Plaintiffs, individually and on behalf of all others similarly situated, respectfully
      16     request that the Court:
      17                      A.        Certify this case as a class action, and appoint Plaintiffs as Class Representatives
      18     and the undersigned attorneys as Class Counsel;
      19                      B.        Enter judgment in favor of Plaintiffs and the Class;
      20                      C.        Enter injunctive and/or declaratory relief as is necessary to protect the interests of
      21     Plaintiffs and Class members, including reformation of practices and an accounting and purging of
      22     wrongfully obtained personal information;
      23                      D.        Award all actual, general, special, incidental, statutory, treble, punitive,
      24     liquidated, and consequential damages and/or restitution to which Plaintiffs and Class members are
      25     entitled;
      26                      E.        Award disgorgement of monies obtained through and as a result of the wrongful
      27     conduct alleged herein;
      28

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                                         SECOND AMENDED CLASS ACTION COMPLAINT
                                                 CASE NO. 3:22-CV-03131-JCS
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                  Case    3:22-cv-03131-JCS
                       3:22-cv-03131-JCS          Document176-1
                                                Document   121 Filed
                                                                 Filed01/30/24
                                                                       08/02/24 Page 19 40
                                                                                  Page  of 19
                                                                                           of 86




        1                     F.        Award Plaintiffs and Class members pre- and post-judgment interest as provided
        2    by law;
        3                     G.        Enter such other orders as may be necessary to restore to Plaintiffs and Class
        4    members any money and property acquired by Defendant through its wrongful conduct;
        5                     H.        Award Plaintiffs and Class members reasonable litigation expenses and attorneys’
        6    fees as permitted by law; and
        7                     I.        Award such other and further relief as the Court deems necessary and appropriate.
        8                                            DEMAND FOR JURY TRIAL
        9              Pursuant to Federal Rule of Civil Procedure 38(b), Plaintiffs demand a trial by jury of all issues
      10     triable as of right.
      11
      12     Dated: January 30, 2024                          Respectfully submitted,
      13
                                                              By: /s/ Simon S. Grille
      14                                                      Adam E. Polk (SBN 273000)
                                                              Simon Grille (SBN 294914)
      15                                                      Trevor T. Tan (SBN 281045)
      16                                                      Reid Gaa (SBN 330141)
                                                              GIRARD SHARP LLP
      17                                                      601 California Street, Suite 1400
                                                              San Francisco, CA 94108
      18                                                      Telephone: (415) 981-4800
      19                                                      apolk@girardsharp.com
                                                              sgrille@girardsharp.com
      20                                                      ttan@girardsharp.com
                                                              rgaa@girardsharp.com
      21
      22                                                      Attorneys for Plaintiffs

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                                         SECOND AMENDED CLASS ACTION COMPLAINT
                                                 CASE NO. 3:22-CV-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 41 of 86




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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24        Page 42 of 86
                                                       Stark v. Patreon
                                                 c/o Settlement Administrator
                                                          ADDRESS
                                                       [email address]
                                                 [www.                  .com]


                                                  CLAIM FORM
                              YOUR CLAIM MUST BE SUBMITTED BY: [DATE]

                                           CLAIM FORM INSTRUCTIONS
                                                     — IMPORTANT —
                                        PLEASE READ THE INSTRUCTIONS BELOW
                                            TO COMPLETE THIS CLAIM FORM


                     FOR MORE INFORMATION, READ THE NOTICE AND FAQ AVAILABLE
                     AT WWW.3$75(216(77/(0(17.COM OR CALL THE SETTLEMENT
                                    ADMINISTRATOR AT 1-######.




                                  Questions? Visit www.           .com or call toll-free 1-#####
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24        Page 43 of 86
                                                        Stark v. Patreon
                                                  c/o Settlement Administrator
                                                           ADDRESS
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            SECTION A: NAME AND CONTACT INFORMATION
              Please provide your name and contact information below. If your name or contact information
              changes after you submit this Claim Form, please notify the Claims Administrator of the new
              information by visiting www.______.com or emailing [address].
            FIRST NAME                                             LAST NAME



            EMAIL ADDRESS                                          PHONE NUMBER




            SECTION B: PAYMENT INFORMATION

                    Payment for valid claims will be made via Paypal using the email address
                    provided above. If you wish to receive payment via a different method or if you
                    would like to specify a different email address for your PayPal account, please
                    mark the check box next to your preferred method and provide the requested
                    information.

                      Selection         Payment Method    Verification Method
                      ‫܆‬                   <<Zelle>>       Phone number:
                      ‫܆‬                   <<Venmo>>       Phone number:
                      ‫܆‬                   <<PayPal>>      Email:




            SECTION C: UNIQUE ID NUMBER

                1. Please provide the Unique ID located on the notice of the Settlement you
                   received. The Unique ID you received is required to validate your claim.




                                                               2
                                  Questions? Visit www.            .com or call toll-free 1-#####
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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24        Page 44 of 86
                                                       Stark v. Patreon
                                                 c/o Settlement Administrator
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            SECTION D: PROOF OF FACEBOOK ACCOUNT

              Your claim must include proof of your Facebook account. Copy and paste the link to
              your Facebook profile page in the box below:
              How to obtain your Facebook profile link on a web browser
              1. Log in to Facebook. Open your web browser and go to facebook.com. Log in with
                 your username and password.
              2. Go to your profile. Click on your profile picture in the top right corner and then click
                 your name to go to your profile page. If you are using a web browser on a mobile
                 device, you must first click the three horizontal lines in the top right corner of the
                 screen and then your name in the top left corner.
              3. Identify the link. Look at the address bar in your browser. The link for your
                 Facebook profile page is located here. If you are using a web browser on a mobile
                 device, you will need to tap the address bar to see the full link. Below are
                 examples of how the link may appear:
                      a. https://www.facebook.com/profile.php?id=1234567890
                           or
                      b. https://www.facebook.com/username
              4. Insert the link in the box below.


              How to obtain your Facebook profile link from the mobile Facebook App
              1. Open the Facebook app. Open the Facebook app on your mobile device. If
                 necessary, log in with your username and password.
              2. Go to your profile. Tap the three horizontal lines above the word “Menu” in the
                 bottom right corner. Then click on your name or profile picture in the top left corner
                 to go to your profile page.
              3. Copy profile link. Tap the button with three dots (it appears next to the “Edit
                 profile” button). Scroll to the bottom of the list of options and tap “Copy profile link.”
              4. Insert the link in the box below.

            Facebook Profile URL:
              It is important to provide accurate information in this form because a sample of claims
              will be audited by the Claims Administrator. If the Claims Administrator cannot verify your
              claim based on your initial submission, you may be asked for more information. The Claims
              Administrator will provide you with further instructions in the event you are required to submit
              this information.


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                                  Questions? Visit www.           .com or call toll-free 1-#####
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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24        Page 45 of 86
                                                       Stark v. Patreon
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            SECTION D: VERIFICATION AND DECLARATION

                F I declare under oath that between April 1, 2016 and [PA DATE], I requested or
                       obtained video content on the Patreon website (patreon.com) while in the United
                       States and at a time when I had a Facebook account and also had a Patreon
                       account.
            SIGNATURE                                                     DATE




            PRINTED NAME




                                                              4
                                  Questions? Visit www.           .com or call toll-free 1-#####
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 46 of 86




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                  Case 3:22-cv-03131-JCS        Document 176-1      Filed 08/02/24   Page 47 of 86




                                        United States District Court for the Northern
                                        District of California

                                        Stark et al. v. Patreon, Inc.

                                        Case No. 3:22-CV-03131-JCS




             Class Action Notice
             Authorized by the U.S. District Court for the
             Northern District of California

              Did you have a               Your Options:                     You are not being
              Patreon account                                                sued.
              and access                   1. Submit a claim. Get
              videos on                    a payment.                        This notice explains the
              Patreon.com                                                    Lawsuit, the Settlement,
                                           2. Do nothing. You                and your legal rights and
              while you had a              will be bound by the              options.
              Facebook                     Settlement and the
              account                      Lawsuit and you will              Please read the entire
              between April                get no payment.                   notice carefully.
              2016 and
                                           3. Opt out of the
              [PRELIMINARY
                                           Settlement.
              APPROVAL
              DATE]?                       4. Object to the
                                           Settlement.
              A class action
              Lawsuit and a
              Settlement of that
              Lawsuit could affect
              your rights.

              You may be eligible to
              receive payment from
              this Settlement.
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 48 of 86




             Important things to know:

                 •   You must submit a claim to receive money from the settlement

                 •   You do nothing, you will still be bound by the Settlement and the Lawsuit and
                     your rights will be affected.

                 •   If you want to opt out or object you must do so by [DATE].

                 •   You can learn more at: [website].




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                    Case 3:22-cv-03131-JCS        Document 176-1                            Filed 08/02/24            Page 49 of 86




             Table of Contents
             Table of Contents ....................................................................................................... 3
             Key Information ......................................................................................................... 5
                 What is happening in this lawsuit? ................................................................................. 5
                 Why did I get this notice? ................................................................................................. 5
                 What are my options? ...................................................................................................... 6
                 What are the most important dates? ............................................................................. 6
             Learning About the Lawsuit ..................................................................................... 6
                 What is this lawsuit about? .............................................................................................. 6
                 Why is there a settlement? .............................................................................................. 7
                 What happens next in this lawsuit?................................................................................ 7
             Important Facts About How the Settlement Might Affect You ............................ 7
                 How do I know if I am a member of the Settlement Class? ........................................ 7
                 What if I'm still not sure if I'm included in the Settlement Class? .............................. 8
                 What are the benefits of the Settlement? ..................................................................... 8
                 How can I verify or update my mailing address? ......................................................... 8
             Your Options as a Settlement Class Member ......................................................... 8
                 What are my options if I am a Settlement Class Member? ......................................... 8
                 Do I need to do anything to get paid? ............................................................................ 9
                 How do I submit a form? ................................................................................................. 9
                 How much will my payment be? ................................................................................... 10
                 When will I get my payment? ........................................................................................ 11
                 What do I give up by making a Settlement Claim? ..................................................... 11
                 What are the consequences of doing nothing? .......................................................... 11
                 What if I don't want to be a part of the Settlement Class? ........................................ 11
                 How do I opt out? ........................................................................................................... 12
                 What are the consequences of excluding myself? ..................................................... 12
                 How do I tell the Court if I don’t like the Settlement? ................................................ 13
                 How do I submit an objection to the Settlement? ...................................................... 13
                 What information must be included in an objection? ............................................... 14

             3
   
                                        
                   Case 3:22-cv-03131-JCS        Document 176-1                        Filed 08/02/24           Page 50 of 86




                 What's the difference between objecting and excluding?......................................... 14
             The Final Approval Hearing .................................................................................... 15
                 When and where will the Court decide whether to approve the Settlement? ....... 15
                 Do I have to come to the Final Approval Hearing? ..................................................... 15
                 May I speak at the hearing?........................................................................................... 15
             The Lawyers Representing You .............................................................................. 16
                 Do I have a lawyer in this lawsuit? ................................................................................ 16
                 How will the lawyers be paid? ....................................................................................... 16
                 Should I get my own lawyer?......................................................................................... 17
             Key Resources .......................................................................................................... 17
                 How can I get more information? ................................................................................. 17




             4
   
                                       
                  Case 3:22-cv-03131-JCS        Document 176-1    Filed 08/02/24    Page 51 of 86




             Key Information
             What is happening in this lawsuit?

                     A group of people (called Plaintiffs) filed a
                                                                        What is a class action
                     class action lawsuit against Patreon, Inc.
                                                                        lawsuit?
                     ("Patreon")—the defendant in this lawsuit.
                     These Plaintiffs claimed that Patreon
                     disclosed its users' identities and video-         A class action is a lawsuit
                     viewing preferences without consent in             in which one or more
                     violation of federal law. Patreon denies these     people sue on behalf of a
                     allegations.                                       larger group, called the
                                                                        Class.
                     In April 2024, Patreon agreed to pay $7.25
                     million to settle the claims against it. The group of people that Patreon
                     has agreed to pay is called the Settlement Class and it includes
                     everyone who, between April 2016 and [PRELIMINARY APPROVAL
                     DATE], requested or obtained video content on the Patreon website
                     (patreon.com) while in the United States and at a time the person had
                     a Facebook account and a Patreon account. If you are in this group
                     and want to get paid, you must submit a claim. Details on how to
                     submit a claim are provided below.



             Why did I get this notice?

                     A court authorized this Notice because you have the right to know
                     about the proposed settlement in the class action lawsuit, Stark et al. v.
                     Patreon, Inc. You received this notice because you may be a
                     member of the group of people whose rights are affected by the
                     proposed settlement. This notice gives you information about the
                     case and tells you how to opt out if you don’t want to be part of it.

                     It is an important legal document, and we recommend that you read
                     all of it. If you have questions or need assistance, please go to
                     [website] or call [phone number].




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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 52 of 86




             What are my options?


              Submit A Claim Form                        The only way to get a payment

              Exclude Yourself by Opting Out             Get no payment.

                                                     This is the only option that allows you to
                                                     keep your right to bring any other claim
                                                     against Patreon related to the subject
                                                     matter of the claims in this case.
              Object to the Settlement and/or Attend You can write to the Court about why
              a Hearing                              you like or do not like the Settlement.
                                                     The Court cannot order a different
                                                     settlement.
                                                     You can also ask to speak to the Court at
                                                     the hearing on _______, 2024 about the
                                                     fairness of the Settlement, with or
                                                     without your own attorney.
              Do Nothing                             Get no payment. Give up rights and be
                                                     bound by the Settlement.



             What are the most important dates?

                     The deadline to submit a claim for a payment from the Settlement is
                     [DATE].

                     The deadline to opt out of the Settlement is [DATE].

                     The deadline to object to the Settlement is [DATE].


             Learning About the Lawsuit
             What is this lawsuit about?

                     Plaintiffs claim that Patreon violated the Video Privacy Protection Act
                     (“VPPA”) by disclosing its subscribers’ identities and video-viewing
                     preferences without lawful consent. The lawsuit contends that Patreon

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                  Case 3:22-cv-03131-JCS        Document 176-1    Filed 08/02/24   Page 53 of 86




                     transmitted this information to Meta
                     Platforms, Inc. (“Meta”)— the owner of             Where can I learn
                     Facebook—through use of a web tracking             more?
                     tool called the Meta Pixel. The case is Stark et
                     al. v. Patreon, Inc., Case No. 3:22-CV-03131-JCS
                                                                        You can get a complete
                     (N.D. Cal.)
                                                                        copy of the key
                     Patreon denies the allegations made in the         documents in this lawsuit
                     lawsuit and denies that it did anything            by visiting:
                     improper or unlawful.                              [website]

                     The Court has not determined who is right.
                     The proposed settlement to resolve this case is not an admission of
                     guilt or wrongdoing by Patreon.


             Why is there a settlement?

                     The Court did not decide in favor of the Plaintiffs or the Defendant.
                     Instead, both sides agreed to a Settlement. That way, they avoid the
                     costs and risks of a trial, and the affected Class Members can get
                     benefits or compensation. The class representatives and their
                     attorneys think the Settlement is best for the Class.


             What happens next in this lawsuit?

                     The Court in charge of this case will decide whether to approve the
                     Settlement. Payments will be made if the Court approves the
                     Settlement and after any appeal is resolved


             Important Facts About How the
             Settlement Might Affect You
             How do I know if I am a member of the Settlement Class?

                     The Settlement Class includes all persons who, between April 1, 2016,
                     to and through [Preliminary Approval date], requested or obtained
                     video content on the Patreon website (patreon.com) while in the
                     United States and at a time the person had a Facebook account and
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 54 of 86




                     also had a Patreon account.

                     If you are in this group, you are a member of the Settlement Class and
                     you must submit a claim in order to receive payment.


             What if I'm still not sure if I'm included in the Settlement Class?

                     If you are not sure whether you are included in the class, you can ask
                     for free help by calling Simpluris (the Claims Administrator) at XXX-XXX-
                     XXXX for more information. You can also visit www.XXXX.com.


             What are the benefits of the Settlement?

                     Patreon will pay $7,250,000 into a Settlement Fund. Patreon has also
                     agreed not to operate the Meta Pixel on any web page on the Patreon
                     website that includes video content unless: (a) the VPPA is amended in
                     relevant part, repealed, or otherwise invalidated; (b) Patreon obtains
                     consent in the form required by the VPPA; or (c) the Meta Pixel on the
                     relevant Patreon web page otherwise complies with the VPPA.

                     Eligible claimants under the Settlement will receive a pro rata (or
                     equal) portion of the Settlement Fund after deductions for
                     administration expenses, attorneys’ fees and costs, and service award
                     payments to the Plaintiffs.


             How can I verify or update my mailing address?

                     You can update your contact information by visiting www.XXXXX.com
                     or emailing [email address].


             Your Options as a Settlement Class
             Member
             What are my options if I am a Settlement Class Member?

                     You have three options as a member of the Settlement Class. You can:

                     (1) submit a claim to get paid from the Settlement;
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                  Case 3:22-cv-03131-JCS        Document 176-1    Filed 08/02/24    Page 55 of 86




                     (2) opt out of the Settlement Class and retain your right to sue
                         Patreon; or

                     (3) do nothing and remain in the Settlement Class. If you do nothing
                         and do not submit a claim, you will not receive a payment. You can
                         also object to any part of the Settlement that you do not like, if you
                         don’t opt out of the Settlement Class.


             Do I need to do anything to get paid?

                     YES. To receive a payment from the Settlement you MUST submit a
                     claim.

                     The deadline to submit a claim is [DATE].


             How do I submit a form?

                     If you are a class member (see pages 7-8) and you want to receive a
                     payment, you can submit a claim by filling out and submitting the
                     claim form available at www.XXXXX.com.

                     You must provide the link for your Facebook profile page on the claim
                     form, so that the Claims Administrator can verify that you are a Class
                     Member. The link you provide must correspond with a Facebook
                     profile that includes your personal information. To find your Facebook
                     profile page link, you can use the following steps:

                     How to obtain your Facebook profile link on a web browser
                     (1) Log in to Facebook. Open your web browser and go to Facebook.
                         Log in with your username and password.

                     (2) Go to your profile. Click on your profile picture in the top right
                         corner and then click your name to go to your profile page. If you
                         are using a web browser on a mobile device, you must first click
                         the three horizontal lines in the top right corner of the screen and
                         then your name in the top left corner.

                     (3) Identify the link. Look at the address bar in your browser. The link
                         for your Facebook profile page is located here. If you are using a
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 56 of 86




                          web browser on a mobile device, you will need to tap the address
                          bar to see the full link. Below are examples of how the link may
                          appear:

                              (a) https://www.facebook.com/profile.php?id=1234567890

                              or
                              (b) https://www.facebook.com/username

                     How to obtain your Facebook profile link on the mobile phone
                     Facebook App

                     (1) Open the Facebook app. Open the Facebook app on your mobile
                         device. If necessary, log in with your username and password.

                     (2) Go to your profile. Tap the three horizontal lines above the word
                         “Menu” in the bottom right corner. Then click on your name or
                         profile picture in the top left corner to go to your profile page.

                     (3) Copy profile link. Tap the button with three dots (it appears next
                         to the “Edit profile” button). Scroll to the bottom of the list of
                         options and tap “Copy profile link.”

                     The Claim Form requires that you attest under oath that you accessed
                     video content on Patreon.com while you had a Facebook account.

                     It is important to provide accurate information in the Claim Form
                     because a sample of claims will be audited by the Claims
                     Administrator. If the Claims Administrator cannot verify your claim
                     based on your initial submission, you may be asked for more
                     information. The Claims Administrator will provide you with further
                     instructions in the event you are required to submit this information.

                     If you have questions, you can contact the Claims Administrator by
                     telephone (XXX-XXX-XXXX) or email [insert email address].

                     The deadline to submit a claim form is [DATE].


             How much will my payment be?

                     After deduction of the costs of notice and settlement administration,
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                  Case 3:22-cv-03131-JCS        Document 176-1    Filed 08/02/24   Page 57 of 86




                     any Court-approved award of attorneys’ fees (up to 30% of the
                     Settlement Fund), litigation costs, and any service awards for the Class
                     Representatives (up to $7,500 to each of the six individual Class
                     Representatives), the Settlement Fund will be divided equally among
                     eligible class members.

                     We will not know the final amount that each class member will receive
                     until all claims are completed. Based on claims rates in similar cases,
                     eligible class members may receive between $35 and $175 each. The
                     actual amount that each class member receives will be determined
                     once all claims are evaluated, and may be higher or lower than these
                     estimates.


             When will I get my payment?

                     Payments will be made if the Court approves the Settlement after the
                     Final Approval Hearing and there is no appeal from the order
                     approving the Settlement. For updates please visit www.website.com
                     or follow @GirardSharp on X (Twitter).


             What do I give up by making a Settlement Claim?

                     Unless you exclude yourself with an opt-out request (see page 12), you
                     cannot sue, continue to sue, or be part of any other lawsuit against
                     Patreon about the issues in this case. The “Releases” section in the
                     Settlement Agreement describes the legal claims that you give up if
                     you remain a Settlement Class Member.

                     The Settlement Agreement is available at www.XXXX.com.


             What are the consequences of doing nothing?

                     If you do nothing, you won’t be able to start, continue, or be part of
                     any other lawsuit against Patreon for alleged violation of the VPPA
                     during the Class Period.


             What if I don't want to be a part of the Settlement Class?

                     You can opt out of the Settlement Class.

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                  Case 3:22-cv-03131-JCS        Document 176-1      Filed 08/02/24    Page 58 of 86




                     Information about how to opt out of the Settlement Class is on page
                     12.


             How do I opt out?

                     You can opt out of the Settlement Class by going to www.XXXX.com
                     and filling out the online form, or by sending a letter via first class U.S.
                     mail saying that you want to opt out of the Settlement in Stark et al. v.
                     Patreon, Inc., Case No. 3:22-CV-03131-JCS (N.D. Cal.) to the Claims
                     Administrator at the below address:


                                        Simpluris Inc.
                                        3194-C Airport Loop Drive
                                        Costa Mesa, CA 92626
                                        [Phone Number]


                     You must include your name, address, telephone number, and your
                     signature. If you are under 18 years old and do not want your name
                     included on the list of optouts filed with the Court, your letter must
                     state that you are under 18. The deadline to opt out is [DATE].


             What are the consequences of excluding myself?

                     If you are a class member (see page 7-8 above), unless you opt out,
                     you give up the right to sue Patreon for the claims resolved by the
                     Settlement. If you are a class member and you want to pursue your
                     own lawsuit, you must opt out. You will be responsible for the cost of
                     any services provided by your lawyer.

                     This is your only opportunity to opt out of the Settlement Class.

                     What happens if I opt out of the Settlement Class?

                     If you opt out of the Settlement Class, you will:
                     x   Not be eligible to receive payment from the Settlement;

                     x   Not have any rights as a member of the class under the Settlement;

                     x   Not be bound by any further orders or judgments in this case; and

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                  Case 3:22-cv-03131-JCS        Document 176-1      Filed 08/02/24    Page 59 of 86




                     x   Keep the right, if any, to file a lawsuit against (or continue to sue)
                         Patreon about the legal claims brought on behalf of the Settlement
                         Class.


             How do I tell the Court if I don’t like the Settlement?

                     If you are a Settlement Class Member and do not opt out of the
                     Settlement, you have the right to object to the Settlement, the Plan of
                     Allocation, or Class Counsel’s request for attorneys’ fees, expenses and
                     service awards. You can’t ask the Court to order a different settlement.
                     The Court can only approve or reject the Settlement.

                     If the Court denies approval of the Settlement, no money will be paid
                     to class members and the lawsuit will continue


             How do I submit an objection to the Settlement?

                     To object to the Settlement, you (or your lawyer if you have one) must
                     submit a written objection to the Court and send the objection to the
                     Claims Administrator at the addresses on page 12. You must submit
                     your objection on or before [DATE]. Your objection can include any
                     supporting materials, papers, or briefs that you want the Court to
                     consider.

                     If you submit a timely written objection, you may (but are not required
                     to) appear at the Final Approval Hearing, either in person or through
                     your own attorney. If you appear through your own attorney, you are
                     responsible for hiring and paying that attorney. If you wish to appear
                     at the Settlement Hearing, you must also include a statement of
                     intention to appear in your objection.

                     All written objections and supporting papers must clearly identify the
                     case name and number (Stark v. Patreon, No. 3:22-CV-03131-JCS (N.D.
                     Cal.). You can file the objection electronically at
                     https://www.cand.uscourts.gov/cm-ecf or mail the objection by First
                     Class U.S. Mail, so that it is submitted electronically or postmarked no
                     later than [DATE], to the following address:




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                  Case 3:22-cv-03131-JCS        Document 176-1     Filed 08/02/24   Page 60 of 86




                                        Clerk of the Court
                                        U.S. District Court for the
                                        Northern District of
                                        California
                                        450 Golden Gate Avenue
                                        San Francisco, CA 94102
                                        Case No. 3:22-CV-03131-JCS


             What information must be included in an objection?

                     An objection must include:

                     (a) a written statement identifying your name, address, and signature,
                     and, if represented by counsel, the name, address of counsel;

                     (b) a written statement that you had a Patreon account and a
                     Facebook account between April 1, 2016 through [Preliminary
                     Approval date] and requested or obtained video content on the
                     Patreon website during that time;

                     (c) a written statement of your objection and the reasons for your
                     objection;

                     (d) a written statement whether the objection applies only to you, to a
                     specific subset of the Class, or to the entire Class; and

                     (e) any documentation or authorities in support of your objection.

                     If you do not mail or electronically file the objection, you must have it
                     delivered in person to the above address, no later [DATE].


             What's the difference between objecting and excluding?

                     Objecting is telling the Court that you don’t like something about the
                     Settlement. You can object to the Settlement only if you do not
                     exclude yourself from the Settlement. Excluding yourself from the
                     Settlement is opting out and telling the Court that you don’t want to be
                     part of the Settlement. If you opt out of the Settlement, you cannot
                     object to it because it no longer affects you.



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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 61 of 86




             The Final Approval Hearing
             When and where will the Court decide whether to approve the
             Settlement?

                     The Court will hold a Final Approval Hearing on ____________, 2024 at
                     ____, in Courtroom D on the 15th Floor of the San Francisco federal
                     courthouse located at 450 Golden Gate Avenue, San Francisco, CA
                     94102.

                     At this hearing, the Court will consider whether the Settlement is fair,
                     reasonable, and adequate. If there are objections, the Court will
                     consider them. The Court will listen to Class Members who have asked
                     to speak at the hearing.

                     The Court will also decide how much Class Counsel should receive in
                     fees, expense reimbursements and service awards. After the hearing,
                     the Court will decide whether to approve the Settlement.

                     The Court may reschedule the Final Approval Hearing, or hold the
                     hearing via Zoom Webinar, or change any of the deadlines described
                     in this Notice. The date of the Final Approval Hearing may change
                     without further notice to Class Members. Be sure to check the website,
                     www.______________________.com, for news of any such changes. You
                     can also access the case docket via the Court’s Public Access to Court
                     Electronic Records (PACER) system at https://ecf.cand.uscourts.gov.


             Do I have to come to the Final Approval Hearing?

                     No. Class Counsel will answer any questions the Court may have. You
                     may attend at your own expense if you wish.

                     If you send an objection, you do not have to come to the hearing. If
                     you submitted your written objection on time, the Court will consider
                     it. You may also pay your own lawyer to attend, but that is not
                     necessary.


             May I speak at the hearing?

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                  Case 3:22-cv-03131-JCS        Document 176-1    Filed 08/02/24   Page 62 of 86




                     You may ask the Court for permission to speak at the Final Approval
                     Hearing. To do so, you must include a statement in your written
                     objection (see pages 12-13) that you intend to appear at the hearing,
                     with your name, address, and signature.


             The Lawyers Representing You
             Do I have a lawyer in this lawsuit?

                     Yes. In a class action, the court appoints class representatives and
                     lawyers to work on the case and represent the interests of all the class
                     members. For purposes of the case, the Court has appointed Simon
                     Grille and Reid Gaa of Girard Sharp LLP to serve as Class Counsel for
                     the Settlement Class.
                                          Simon S. Grille
                                          Reid Gaa
                                          Girard Sharp LLP
                                          601 California Street, Suite 1400
                                          San Francisco, CA 94108
                                          Telephone: (415) 981-4800
                                          patreonvppa@girardsharp.com

                     You will not be charged for Class Counsel's services, although their
                     fees may be paid with the Court's approval from the settlement
                     negotiated on behalf of the class.

                     Class Counsel does not represent you individually, only as a member
                     of the Class.

                     If you want to be represented by your own lawyer, you may hire one at
                     your own expense.


             How will the lawyers be paid?

                     Class Counsel, who have not been paid for their services in this case
                     since it began, will ask the Court for an award of attorneys’ fees of up
                     to 30% of the Settlement Fund. Class Counsel will also seek
                     reimbursement of costs and expenses (1) advanced in litigating the
                     case and (2) for providing notice and administering the settlement, as

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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 63 of 86




                     well as service awards to the Class Representatives of up to $7,500
                     each.

                     All of these amounts, as well as the costs associated with notice and
                     administering the settlement, will be paid from the Settlement Fund.

                     All awards for attorneys’ fees and expenses are subject to Court
                     approval and will be paid from the Settlement Fund only after the
                     Court approves them.

                     A copy of Class Counsel’s Motion for Attorneys’ Fees and Expenses and
                     for Plaintiff Service Awards will be available at www.XXXX.com by
                     [DATE].

                     You do not individually have to pay any attorneys’ fees or expenses in
                     connection with the lawsuit.


             Should I get my own lawyer?

                     You do not need to hire your own lawyer.

                     If you want your own lawyer, you may hire one, but you will be
                     responsible for any payment for that lawyer’s services. For example,
                     you can ask your own lawyer to appear in court if you want someone
                     other than Class Counsel to speak for you.

                     You may also appear for yourself without a lawyer.


             Key Resources
             How can I get more information?

                     This Notice summarizes the proposed Settlement—more details are in
                     the Settlement Agreement and other case documents. To get a copy of
                     the case documents you can:
                     x   contact the lawyers who represent the class (information below);

                     x   visit the case website at [website];

                     x   access the Court Electronic Records (PACER) system online at:

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                  Case 3:22-cv-03131-JCS        Document 176-1     Filed 08/02/24    Page 64 of 86




                         https://ecf.cand.uscourts.gov; or

                     x   by visiting the Clerk of the Court for the United States District Court
                         for the Northern District of California at any of the Court’s locations
                         between 9:00 a.m. and 4:00 p.m., Monday through Friday,
                         excluding Court holidays (addresses below).

                     Resource              Case Information

                     Case website          [website]

                     Toll Free Number      [phone number]

                     Claims                Simpluris Inc.
                     Administrator         3194-C Airport Loop Drive
                                           Costa Mesa, CA 92626
                                           [Phone Number]

                     Class Counsel         Simon Grille
                                           Reid Gaa
                                           Girard Sharp LLP
                                           601 California Street
                                           Suite 1400
                                           San Francisco, CA 94108
                                           (415) 981-4800
                                           patreonvppa@girardsharp.com

                     Court (DO NOT         PLEASE DO NOT CALL THE COURT OR THE COURT
                     CONTACT)              CLERK’S OFFICE TO INQUIRE ABOUT THIS
                                           SETTLEMENT OR THE CLAIM PROCESS:

                                           Phillip Burton Federal Building & United States
                                           Courthouse, 450 Golden Gate Avenue, San
                                           Francisco, CA 94102

                                           Robert F. Peckham Federal Building and United
                                           States Courthouse, 280 South 1st Street, San Jose,
                                           CA 95113

                                           Ronald V. Dellums Federal Building & United States
                                           Courthouse, 1301 Clay Street, Oakland, CA 94612

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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 65 of 86




                                          United States Courthouse, 3140 Boeing Avenue,
                                          McKinleyville, CA 95519




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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 66 of 86




                                        EXHIBIT 
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 67 of 86




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        8                                     UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF CALIFORNIA
        9                                        SAN FRANCISCO DIVISION
      10
      11     BRAYDEN STARK, JUDD OOSTYEN, ISAAC              Case No. 3:22-cv-03131-JCS
             BELENKIY, VALERIE BURTON, LAURA
      12
             GOODFIELD, and DENOVIAS MACK, on                [PROPOSED] ORDER GRANTING
      13     behalf of themselves and all others similarly   PLAINTIFFS’ MOTION FOR PRELIMINARY
             situated,                                       APPROVAL OF CLASS ACTION
      14
                                                             SETTLEMENT AND PROVIDING FOR
      15                      Plaintiffs,                    NOTICE
                   v.
      16
             PATREON, INC.,
      17
      18                      Defendant.

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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                    Case 3:22-cv-03131-JCS        Document 176-1              Filed 08/02/24    Page 68 of 86




        1              This matter comes before the Court on Plaintiffs’ Motion for Preliminary Approval of Class
        2        Action Settlement for consideration of whether the Court should grant preliminary approval of the
        3        proposed Settlement Agreement1 entered into by Plaintiffs Brayden Stark, Judd Oostyen, Isaac
        4        Belenkiy, Valerie Burton, Laura Goodfield, and Denovias Mack, on behalf of themselves and the Class,
        5        and Defendant Patreon, Inc. (collectively, the “Parties”).
        6              The Court is familiar with the record and has read and considered Plaintiffs’ Motion, and all
        7        supporting documents submitted therewith, including the Settlement Agreement and Declaration of
        8        Simpluris Inc (“Simpluris Decl.”) describing the Parties’ proposed method of giving notice to Class
        9        Members. The Court finds that there are sufficient grounds to preliminarily approve the Settlement under
      10         Federal Rule of Civil Procedure 23, that the Court will likely be able to certify the Class for settlement
      11         purposes only, and directs notice of the Settlement to be disseminated to the proposed Class.
      12               Accordingly, it is HEREBY ORDERED that:
      13                                        Preliminary Approval of the Settlement
      14               1.      The proposed Settlement Agreement is preliminarily approved as likely to be finally
      15     approved under Federal Rule of Civil Procedure 23(e)(2) and as meriting notice to the Settlement Class
      16     for its consideration. This determination is not a final finding that the Settlement is fair, reasonable, and
      17     adequate, but it is a determination that good cause exists to disseminate notice to Class Members in
      18     accordance with the Settlement Agreement and plan for notice described in the Simpluris Decl. and to
      19     hold a hearing on final approval of the proposed Settlement.
      20               2.      Considering the factors set forth in Rule 23(e)(2), the Court preliminarily finds as follows:
      21                       a. Plaintiffs and Class Counsel have adequately represented the Class;
      22                       b. The Class Settlement Agreement was negotiated at arm’s length with the assistance
      23                           of the Hon. Jeremy D. Fogel (Ret.), a former District Judge of the Northern District
      24                           of California and experienced private mediator;
      25                       c. The monetary relief provided to the Settlement Class is adequate given the risks,
      26                           delay, and uncertainty of continued litigation and trial, the effectiveness of the
      27     1
              Unless otherwise specified, all capitalized terms used herein that are defined in the Settlement
      28     Agreement have the same meanings as set forth in that agreement.

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                  [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                         CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 69 of 86




        1                         proposed method of distributing relief to the class, the terms of the proposed award
        2                         of attorney’s fees, and any agreement required to be identified under Rule 23(e)(3);
        3                         and
        4                     d. The Settlement Agreement and proposed method of distributing the relief treat all
        5                         Class Members equitably relative to each other.
        6                                              Certification of the Class
        7            3.       The Court finds, upon preliminary evaluation and for purposes of the Settlement only, that
        8    the Court will likely be able to certify the following proposed class pursuant to Federal Rule of Civil
        9    Procedure 23:
      10                      All persons who, between April 1, 2016, to and through the Preliminary
                              Approval date, requested or obtained video content on the Patreon website
      11                      (patreon.com) while in the United States and at a time the person had a
      12                      Facebook account and also had a Patreon account.

      13     Excluded from the Class are Defendant Patreon, Inc., its parents, subsidiaries, affiliates, officers,
      14     directors, and employees; any entity in which Patreon has a controlling interest; and all judges assigned
      15     to hear any aspect of this litigation, as well as their staff and immediate family members.
      16
                     4.       The Court preliminarily finds that:
      17
                              a. Members of the Class are so numerous as to make joinder impracticable;
      18
                              b. There are questions of law and fact common to the Class, and such questions
      19
                                  predominate over any questions affecting only individual Class Members for purposes
      20
                                  of the Settlement;
      21
                              c. Plaintiffs’ claims and the defenses thereto are typical of the claims of the Class
      22
                                  Members and the defenses thereto for purposes of the Settlement;
      23
                              d. Plaintiffs and their counsel have, and will continue to, fairly and adequately protect
      24
                                  the interests of the Settlement Class Members in this action with respect to the
      25
                                  Settlement; and
      26
      27                      e. A class action is superior to all other available methods for fairly and efficiently

      28                          resolving this action.

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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1            Filed 08/02/24      Page 70 of 86




        1            5.       The Court further finds, for the reasons stated in the Motion, that Plaintiffs and Class
        2     Counsel should be conditionally appointed to represent the Class.
        3            6.       This provisional certification of the Class shall be solely for settlement purposes, without
        4     prejudice to the parties in the event the Settlement Agreement is not finally approved by this Court or
        5     otherwise does not take effect. If the Settlement Agreement is not finally approved, this provisional
        6     certification shall be vacated and shall have no effect.
        7                                            Manner and Form of Notice
        8            7.       The Court approves, as to their form and content, the Notice and Claim Form substantially
        9    in the form of Exhibits 2 and 3 to the Settlement Agreement. The notice plan outlined in the Settlement
      10     Agreement and Simpluris Declaration, which includes direct notice via email and a settlement website,
      11     will provide the best notice practicable under the circumstances. The Notice and its manner of
      12     transmission is reasonably calculated, under the circumstances, to apprise the Class of the pendency of
      13     the Action, the proposed Settlement and its effects (including the Released Claims), the anticipated
      14     motion for attorneys’ fees, costs, and expenses and for service awards, and their rights, including to
      15     participate in, opt out of, or object to any aspect of the proposed Settlement; constitute due, adequate and
      16     sufficient notice to the Class; and satisfy the requirements of Rule 23 of the Federal Rules of Civil
      17     Procedure, due process, and all other applicable law and rules. The date and time of the Final Fairness
      18     Hearing shall be included in the Notice before dissemination.
      19             8.       The Court hereby appoints Simpluris Inc. to serve as the Claims Administrator to
      20     supervise and administer the notice procedures, establish and operate a settlement website (the
      21     “Settlement Website”), administer the claims processes, distribute cash payments according to the
      22     processes and criteria set forth in the Settlement Agreement, and perform any other duties of the Claims
      23     Administrator that are reasonably necessary or provided for in the Settlement Agreement.
      24             9.       All reasonable expenses incurred in identifying and notifying members of the Class, as
      25     well as in administering the Settlement Fund, shall be paid from the Settlement Fund as set forth in the
      26     Settlement Agreement. In the event the Settlement is not approved by the Court or otherwise fails to
      27     become effective, Class Counsel shall not be obligated to repay amounts paid to, or that are billed by, the
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24     Page 71 of 86




        1    Claims Administrator for Notice or administering the Settlement, as set forth in the Settlement
        2    Agreement.
        3            10.      No later than 25 days after entry of this Order, the Claims Administrator will complete
        4    distribution of the Notice, substantially in the form of Exhibit 2 to the Settlement Agreement, along with
        5    an electronic link to the Claim Form, via email to all members of the Class for whom a valid email address
        6    is available. To the extent such transmission of email notice results in “bounce-backs,” the Claims
        7    Administrator will make a second attempt to re-send the email notice to the extent feasible.
        8            11.      Under the Settlement, all Class Members who wish to participate in the Settlement shall
        9    complete and submit a Claim Form in accordance with the instructions contained therein. All Claim
      10     Forms must be postmarked or submitted electronically within 100 days after entry of this Order as set
      11     forth in the Settlement Agreement, which provides Class Members 75 days from the Notice Date to
      12     submit a Claim.
      13             12.      The Claims Administrator shall also establish and maintain the Settlement Website and
      14     post the Notice, the Settlement Agreement, the operative Complaint, and other relevant case documents,
      15     as well as contact information for Class Counsel and the Claims Administrator.
      16             13.      The dates provided for herein may be extended by Order of the Court, for good cause
      17     shown, without further notice to the Class.
      18                                            The Final Fairness Hearing
      19             14.      The Court will hold a Final Fairness Hearing on ____________, at the United States
      20     District Court for the Northern District of California, 450 Golden Gate Avenue, San Francisco, CA
      21     94102, Courtroom D – 15th Floor for the following purposes: (i) to finally determine whether the Class
      22     satisfies the applicable requirements for certification under Federal Rules of Civil Procedure 23(a) and
      23     23(b)(3); (ii) to determine whether the Settlement should be approved as fair, reasonable, and adequate
      24     and in the best interests of the Class; (iii) to consider Class Counsel’s application for an award of
      25     attorneys’ fees, costs, and expenses and for service awards to the representative Plaintiffs; and (iv) to
      26     consider any other matters that may properly be brought before the Court in connection with the
      27     Settlement.
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 72 of 86




        1            15.      Class Counsel’s application for an award of attorneys’ fees, expenses, and costs and for
        2     service awards will be considered separately from the fairness, reasonableness, and adequacy of the
        3     Settlement. Any appeal from any order relating solely to Class Counsel’s application for an award of
        4     attorneys’ fees, costs, and expenses, and/or to Class Counsel’s application for service awards, or any
        5     reversal or modification of any such order, shall not operate to terminate or cancel the Settlement or to
        6     affect or delay the finality of a judgment approving the Settlement.
        7            16.      Papers in support of final approval of the Settlement and Class Counsel’s application for
        8     attorneys’ fees, expenses and costs and for service awards shall be filed no later than 65 days after entry
        9     of this Order. Any Reply in support of final approval of the Settlement or Class Counsel’s application
      10      for attorneys’ fees, expenses and costs and for service awards shall be filed no later than 115 days after
      11      entry of this Order.
      12                                Objections and Appearances at the Final Fairness Hearing
      13             17.      Any Class Member may appear at the Final Fairness Hearing and show cause why the
      14      proposed Settlement should or should not be approved as fair, reasonable, and adequate; why judgment
      15      should or should not be entered; or to comment on or oppose Class Counsel’s application for attorneys’
      16      fees, costs, and expenses or Class Counsel’s application for service awards. No person or entity shall
      17      be heard or entitled to contest the approval of the Settlement, or if approved, the judgment to be entered
      18      approving the Settlement, or Class Counsel’s application for an award of attorneys’ fees, costs, and
      19      expenses and for service awards, unless that person’s objection is received by the Clerk of the United
      20      States District Court for the Northern District of California within 100 days after entry of this Order (the
      21      “Objection Deadline”), which provides Class Members 75 days from the Notice Date to object.
      22             18.      To object, such Class Member must submit copies of: (a) a written statement identifying
      23      such Person’s name, address, and signature, and, if represented by counsel, the name, and address of
      24      counsel; (b) a written statement attesting that the Class Member had a Patreon account and a Facebook
      25      account between April 1, 2016 through the Preliminary Approval date and requested or obtained video
      26      content on the Patreon website during that time; (c) a written statement of the Class Member’s objection
      27      and the reasons for such objection; (d) a written statement of whether the objection applies only to the
      28      Class Member, to a specific subset of the Class, or to the entire Class; and (e) any documentation or
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1            Filed 08/02/24       Page 73 of 86




        1     authorities in support of such objection. All written objections and supporting papers must clearly
        2     identify the case name and number (Stark v. Patreon, No. 3:22-CV-03131-JCS (N.D. Cal.). If the Class
        3     Member wishes to appear at the Settlement Hearing, he or she must also include a statement of intention
        4     to appear at the Settlement Hearing. Objections must be submitted to the Court either by filing
        5     electronically or in person at any location of the United States District Court for the Northern District
        6     of California or by mailing it to the Clerk, United States District Court for the Northern District of
        7     California, at the following address:
        8            Northern District of California, San Francisco Division
        9            United States District Court
                     450 Golden Gate Avenue, Box 36060
      10             San Francisco, CA 94102-3489
                     Case No. 3:22-cv-03131-JCS
      11
      12             19.      Any Class Member who does not make their objection in the time and manner provided
      13      for herein shall be deemed to have waived such objection and shall forever be barred from making any
      14      objection to the fairness, reasonableness, or adequacy of the proposed Settlement, and to Class Counsel’s
      15      application for an award of attorneys’ fees, costs, and expenses and for service awards. By objecting,
      16      or otherwise requesting to be heard at the Final Fairness Hearing, a person shall be deemed to have
      17      submitted to the jurisdiction of the Court with respect to the objection or request to be heard and the
      18      subject matter of the Settlement, including but not limited to enforcement of the terms of the Settlement.
      19             20.      Attendance at the Final Fairness Hearing is not necessary, but persons wishing to be heard
      20      orally in connection with approval of the Settlement, including the proposed method of distribution,
      21      and/or the application for an award of attorneys’ fees, costs, and expenses and for service awards must
      22      indicate in their written objection their intention to appear at the hearing. If an objector hires an attorney
      23      for the purpose of making an objection, the attorney must file a notice of appearance with the Court and
      24      serve it on Class Counsel and Defendant’s Counsel by the Objection Deadline.
      25                                              Exclusion from the Class
      26             21.      Any requests for exclusion are due no later than 100 days after entry of this Order
      27      (“Exclusion Deadline”). Any person or entity who would otherwise be a member of the Class who
      28      wishes to be excluded from the Class must notify the Claims Administrator in writing of that intent by
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1            Filed 08/02/24       Page 74 of 86




        1     either (i) by U.S. mail postmarked no later than the Exclusion Deadline; or (ii) by submission of an opt-
        2     out request on the Settlement Website no later than the Exclusion Deadline. Any person or entity who
        3     is a member of the Class and who validly and timely requests exclusion from the Settlement shall not
        4     be a Class Member; shall not be bound by the Settlement Agreement; shall not be eligible to apply for
        5     or receive any benefit under the terms of the Settlement Agreement; and shall not be entitled to submit
        6     an Objection to the Settlement.
        7            22.      Any member of the Class who does not notify the Claims Administrator of their intent to
        8     be excluded from the Class in the manner stated herein shall be deemed to have waived his or her right
        9     to be excluded from the Class. If the Court finally approves the Settlement, any such person or entity
      10      shall forever be barred from requesting exclusion from the Class in this or any other proceeding, and
      11      shall be bound by the Settlement and the judgment, including the releases provided for in the Settlement
      12      Agreement, and the Final Order and Judgment.
      13                                            Termination of the Settlement
      14             23.      If the Settlement fails to become effective in accordance with its terms, or if the Final
      15      Order and Judgment is not entered or is reversed or vacated on appeal, this Order shall be null and void,
      16      the Settlement Agreement shall be deemed terminated, and the Parties shall return to their positions
      17      without any prejudice, as provided for in the Settlement Agreement.
      18                                              Limited Use of This Order
      19             24.      The fact and terms of this Order or the Settlement, all negotiations, discussions, drafts and
      20      proceedings in connection with this Order or the Settlement, and any act performed or document signed
      21      in connection with this Order or the Settlement, shall not, in this or any other Court, administrative
      22      agency, arbitration forum, or other tribunal, constitute an admission, or evidence, or be deemed to create
      23      any inference (i) of any acts of wrongdoing or lack of wrongdoing, (ii) of any liability on the part of
      24      Defendant to Plaintiffs, the Class, or anyone else, (iii) of any deficiency of any claim or defense that has
      25      been or could have been asserted in this Action, (iv) of any damages or absence of damages suffered by
      26      Plaintiffs, the Class, or anyone else, or (v) that any benefits obtained by the Class under the Settlement
      27      represent the amount that could or would have been recovered from Defendant in this Action if it were
      28      not settled at this time. The fact and terms of this Order and the Settlement, and all negotiations,
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1             Filed 08/02/24      Page 75 of 86




        1     discussions, drafts, and proceedings associated with this Order and the Settlement, including the
        2     judgment and the release of the Released Claims provided for in the Settlement Agreement, shall not be
        3     offered or received in evidence or used for any other purpose in this or any other proceeding in any
        4     court, administrative agency, arbitration forum, or other tribunal, except as necessary to enforce the
        5     terms of this Order, the Final Order and Judgment, and/or the Settlement.
        6                                            Reservation of Jurisdiction
        7            25.      The Court retains exclusive jurisdiction over the Action to consider all further matters
        8     arising out of or connected with the Settlement.
        9            26.      All discovery and pretrial and trial proceedings and deadlines are vacated until further
      10      notice from the Court, except for such actions as are necessary to implement the Settlement Agreement
      11      and this Order.
      12                                                    Schedule and Deadlines
      13             27.      The Court sets the following schedule for further Settlement-related proceedings:
      14
                                        Event                                      [Proposed] Deadline
      15
                  Class Action Fairness Act notice to state and        Within 10 days after filing of the motion for
      16
                  federal officials, under 28 U.S.C. § 1715            preliminary approval
      17
                  Notice Date                                          No later than 25 days after entry of
      18                                                               preliminary approval order

      19          Plaintiffs to move for final approval of the         65 days after entry of preliminary approval
                  settlement                                           order
      20
                  Plaintiffs to move for attorneys’ fees,              65 days after entry of preliminary approval
      21          expenses, and service awards                         order
      22          Deadline to file a claim                             100 days after entry of preliminary approval
                                                                       order
      23
                  Deadline for the submission of objections and        100 days after entry of preliminary approval
      24          requests for exclusion                               order
      25          Reply briefs in support of final approval and        115 days after entry of preliminary approval
      26          motion for attorneys’ fees, expenses, and            order
                  service awards
      27
                  Final Fairness Hearing                               At least 130 days after entry of preliminary
      28                                                               approval order
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 76 of 86




        1            IT IS SO ORDERED.
        2
        3     DATED: _________________________       ___________________________________________
        4                                            THE HONORABLE JOSEPH C. SPERO
                                                     UNITED STATES MAGISTRATE JUDGE
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               [PROPOSED] ORDER GRANTING PLAINTIFFS’ MOTION FOR PRELIMINARY APPROVAL
                                      CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 77 of 86




                                        EXHIBIT 
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 78 of 86




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        8                                     UNITED STATES DISTRICT COURT
                                            NORTHERN DISTRICT OF CALIFORNIA
        9                                        SAN FRANCISCO DIVISION
      10
      11     BRAYDEN STARK, JUDD OOSTYEN, ISAAC              Case No. 3:22-cv-03131-JCS
             BELENKIY, VALERIE BURTON, LAURA
      12     GOODFIELD, and DENOVIAS MACK, on                [PROPOSED] FINAL JUDGMENT AND
      13     behalf of themselves and all others similarly   ORDER OF DISMISSAL WITH PREJUDICE
             situated,
      14
                              Plaintiffs,
      15           v.
      16
             PATREON, INC.,
      17
                              Defendant.
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                        [PROPOSED] FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
                                             CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 79 of 86




        1             This matter came before the Court for hearing pursuant to the Order Granting Plaintiffs’ Motion
        2     for Preliminary Approval of Class Action Settlement, dated _____ (“Preliminary Approval Order”), on
        3     the motion of Plaintiffs Brayden Stark, Judd Oostyen, Isaac Belenkiy, Valerie Burton, Laura Goodfield,
        4     and Denovias Mack for approval of proposed class action settlement with Defendant Patreon, Inc. Due
        5     and adequate notice having been given of the Settlement as required by the Preliminary Approval Order,
        6     the Court having considered all papers filed and proceedings conducted herein, and good cause
        7     appearing therefor, it is hereby ORDERED, ADJUDGED and DECREED as follows:
        8             1.     This Judgment incorporates by reference the definitions in the Class Action Settlement
        9     Agreement and Release with Defendant dated August , 2024 (the “Settlement Agreement”), and all
      10      defined terms used herein that are defined in the Settlement Agreement have the same meanings ascribed
      11      to them in the Settlement Agreement.
      12              2.     This Court has jurisdiction over the subject matter of the Action and over all Parties
      13      thereto, and venue is proper in this Court.
      14              3.     The Court reaffirms and makes final its provisional findings, rendered in the Preliminary
      15      Approval Order, that, for purposes of the Settlement only, all prerequisites for maintenance of a class
      16      action set forth in Federal Rules of Civil Procedure 23(a) and (b)(3) are satisfied. The Court accordingly
      17      certifies the following Settlement Class:
      18
                              All persons who, between April 1, 2016, to and through the Preliminary
      19                      Approval date, requested or obtained video content on the Patreon website
                              (patreon.com) while in the United States and at a time the person had a
      20                      Facebook account and also had a Patreon account.
      21
      22              4.      Excluded from the Settlement Class are Defendant Patreon, Inc., its parents, subsidiaries,

      23      affiliates, officers, directors, and employees; any entity in which Patreon has a controlling interest; and

      24      all judges assigned to hear any aspect of this litigation, as well as their staff and immediate family

      25      members.

      26              5.      The Court finds that notice of this Settlement was given to Settlement Class Members in

      27      accordance with the Preliminary Approval Order and constituted the best notice practicable of the

      28      proceedings and matters set forth therein, including the Settlement, to all Persons entitled to such notice,


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                     [PROPOSED] FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
                                          CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1              Filed 08/02/24       Page 80 of 86




        1     and that this notice satisfied the requirements of Federal Rule of Civil Procedure 23 and of due process.
        2     The Court further finds that the notification requirements of the Class Action Fairness Act, 28 U.S.C.
        3     § 1715, have been met.
        4             6.      Pursuant to Federal Rule of Civil Procedure 23(e), the Court hereby grants final approval
        5     of the Settlement and finds that it is, in all respects, fair, reasonable, and adequate and in the best interests
        6     of the Settlement Class.
        7             7.      Except as to any individual claim of those Persons identified in Exhibit 1, if any, who
        8     have validly and timely requested exclusion from the Class, the Action and all claims contained therein,
        9     as well as all of the Released Claims (including Unknown Claims), are dismissed on the merits and with
      10      prejudice. It is hereby determined that all Class Members who did not timely and properly elect to
      11      exclude themselves from the Class by a written Request for Exclusion delivered on or before the date
      12      set forth in the Preliminary Approval Order and the Notice are bound by this Judgment.
      13              8.      The persons and entities identified in Exhibit 1 hereto requested exclusion from the Class
      14      as of the Exclusion Deadline. These persons and entities shall not share in the benefits of the Settlement
      15      and this Judgment does not affect their legal rights to pursue any claims they may have against Patreon.
      16      All other members of the Class are hereinafter barred and permanently enjoined from prosecuting any
      17      Released Claims against Patreon in any court, administrative agency, arbitral forum, or other tribunal.
      18              9.      Upon the Effective Date, Releasing Plaintiffs shall be deemed to have, and by operation
      19      of this Judgment shall have, fully, finally, and forever released, relinquished, and discharged the
      20      Released Defendant from all Released Claims.
      21              10.     Neither Class Counsel’s application for attorneys’ fees, reimbursement of litigation
      22      expenses, and service awards for Plaintiffs, nor any order entered by this Court thereon, shall in any way
      23      disturb or affect this Judgment, and all such matters shall be treated as separate from the Judgment
      24      entered herein.
      25              11.     The Parties shall bear their own costs and attorneys’ fees, except as set forth in the
      26      Settlement Agreement, in this Judgment, or any Order regarding Plaintiffs’ request for attorneys’ fees,
      27      expenses, and service awards.
      28


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                     [PROPOSED] FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
                                          CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24      Page 81 of 86




        1              12.    Neither the Settlement, nor any act performed or document executed pursuant to or in
        2     furtherance of the Settlement, is or may be deemed to be or may be used as an admission of, or evidence
        3     of, (a) the validity of any Released Claim, (b) any wrongdoing or liability of Patreon, or (c) any fault or
        4     omission of Patreon in any proceeding in any court, administrative agency, arbitral forum, or other
        5     tribunal. To the extent permitted by law, neither the Settlement Agreement, the Settlement, the
        6     Judgment, any of their terms or provisions, nor any of the negotiations or proceedings connected with
        7     them, shall be offered as evidence or received in evidence or used in any way in any pending or future
        8     civil, criminal, or administrative action or any other proceeding to establish any liability or wrongdoing
        9     of, or admission by Patreon. Notwithstanding the foregoing, nothing in this Judgment shall be
      10      interpreted to prohibit the use of this Judgment in a proceeding to consummate or enforce the Settlement
      11      Agreement or Judgment, or to defend against the assertion of Released Claims in any other proceeding.
      12      All other relief not expressly granted to Class Members is denied.
      13               13.    No Class Member or any other person will have any claim against Patreon, Plaintiffs,
      14      Class Counsel, or the Claims Administrator arising from or relating to the Settlement or any actions,
      15      determinations or distributions made substantially in accordance with the Settlement or Orders of the
      16      Court.
      17               14.    Without affecting the finality of this Judgment, this Court reserves exclusive jurisdiction
      18      over all matters related to administration, consummation, enforcement, and interpretation of the
      19      Settlement and this Judgment, including (a) distribution or disposition of the Settlement Fund; (b) further
      20      proceedings, if necessary, on the application for attorneys’ fees, reimbursement of litigation expenses,
      21      and service awards for Plaintiffs; and (c) the Parties for the purpose of construing, enforcing, and
      22      administering the Settlement. If any Party fails to fulfill its obligations under the Settlement, the Court
      23      retains authority to vacate the provisions of this Judgment releasing, relinquishing, discharging, barring
      24      and enjoining the prosecution of, the Released Claims against the Releasees, and to reinstate the
      25      Released Claims against the Releasees.
      26               15.    If the Settlement does not become effective, then this Judgment shall be rendered null and
      27      void to the extent provided by and in accordance with the Settlement Agreement and shall be vacated
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                                            CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1           Filed 08/02/24     Page 82 of 86




        1     and, in such event, all orders entered and releases delivered in connection herewith shall be null and
        2     void to the extent provided by and in accordance with the Settlement Agreement.
        3             16.     Without further order of the Court, the Parties may unanimously agree to reasonable
        4     extensions of time or other reasonable amendments, modifications, and expansions of the Settlement
        5     Agreement necessary to carry out any of the provisions of the Settlement Agreement, provided that such
        6     amendments, modifications, and expansions of the Settlement Agreement are not materially inconsistent
        7     with this Judgment and do not materially limit the rights of Class Members or the Released Defendant
        8     or Released Plaintiffs under the Settlement Agreement.
        9             17.     Judgment shall be, and hereby is, entered dismissing the Action with prejudice and on the
      10      merits. There is no just reason for delay in the entry of Judgment and immediate entry by the Clerk of
      11      the Court is expressly directed pursuant to Rule 54(b) of the Federal Rules of Civil Procedure.
      12
      13             IT IS SO ORDERED.
      14
      15      DATED: _________________________             ___________________________________________
                                                           THE HONORABLE JOSEPH C. SPERO
      16
                                                           UNITED STATES MAGISTRATE JUDGE
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                     [PROPOSED] FINAL JUDGMENT AND ORDER OF DISMISSAL WITH PREJUDICE
                                          CASE NO. 3:22-cv-03131-JCS
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                  Case 3:22-cv-03131-JCS        Document 176-1   Filed 08/02/24   Page 83 of 86




                                        EXHIBIT 
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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24      Page 84 of 86




             To: [Class Member Email Address]
             From: Stark v. Patreon Settlement Administrator
             Subject: Stark v. Patreon Settlement

              If you had a Patreon account and accessed videos on Patreon.com while
               you had a Facebook account, you may be eligible for payment from a
                                      class action settlement

                                        You may be a Settlement Class Member
                         Unique ID:       <<Unique_ID>>                  PIN:    <<PIN>>


             Dear <<Name>> or if no name Class Member:

             A Settlement has been reached with Patreon, Inc. (“Patreon”) in a class action lawsuit alleging that
             Patreon violated the Video Privacy Protection Act (“VPPA”) by disclosing its subscribers’
             identities and video-viewing preferences without lawful consent. The lawsuit contends that
             Patreon transmitted this information to Meta Platforms, Inc. (“Meta”)— the owner of Facebook—
             through use of a web tracking tool called the Meta Pixel.

             Patreon denies all of the allegations made in the lawsuit, denies that it violated the VPPA, and
             denies that Patreon did anything improper or unlawful. The proposed Settlement is not an
             admission of guilt or wrongdoing of any kind by Patreon. The United States District Court for the
             Northern District of California approved this notice.

                                             Why am I receiving this notice?

             You might be a Settlement Class member. Patreon’s records indicate that you had a Patreon
             account between April 2016 and [PRELIMINARY APPROVAL DATE] and accessed video
             content on Patreon.com. To be eligible for payment, you must demonstrate that you also had a
             Facebook account when you accessed video content on Patreon.com.
             You can submit a claim to be paid from the Settlement using the claim form available here.
             For more information and to review the full notice, please visit www._____.com.

                                            What does the Settlement provide?

             Patreon will pay $7,250,000 into a Settlement Fund. Patreon has also agreed not to operate the
             Meta Pixel on any web page on the Patreon website that includes video content unless: (a) the
             VPPA is amended in relevant part, repealed, or otherwise invalidated; (b) Patreon obtains consent
             in the form required by the VPPA; or (c) the Meta Pixel on the relevant Patreon web page otherwise
             complies with the VPPA. For a full copy of the Settlement Agreement, including all other
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                  Case 3:22-cv-03131-JCS        Document 176-1          Filed 08/02/24      Page 85 of 86




             Settlement terms, please visit www._____.com. For more information about how distributions
             will be made to Settlement Class Members, please visit www._____.com.

                                             What are the expected payments?

             After deduction of the costs of notice and settlement administration, any Court-approved award of
             attorneys’ fees (up to 30% of the Settlement Fund), litigation costs, and any service awards for the
             Class Representatives (up to $7,500 to each of the six individual Class Representatives), the
             Settlement Fund will be distributed pro rata to eligible class members. We will not know the final
             amount that each class member will receive until all claims are evaluated. Based on claims rates
             in similar cases, eligible class members might receive between $35 and $175 each. The actual
             amount that each class member receives will be determined once all claims are evaluated, and may
             be higher or lower than these estimates. Please be patient.

                                                 How can I get a payment?

             If you are a class member and you want to receive a payment, you can make a claim by filling out
             and submitting the claim form available at www._____.com.
             You must provide the link for your Facebook profile page on the claim form, so that the Claims
             Administrator can verify that you are a Class Member. The link you provide must correspond with
             a Facebook profile that includes your personal information. Instructions for how you can find your
             Facebook profile page link are available at www._____.com.
             The Claim Form will also ask you to attest under oath that you accessed video content on
             Patreon.com while you had an active Facebook account.
             If you have questions, you can contact the claims administrator by telephone (8XX-XXX-XXXX)
             or email _____@________.com.

                                        When is the deadline to submit a claim form?

             To be eligible for payment, claim forms must be submitted no later than [DATE].



                                                What are my other options?

             You can do nothing, exclude yourself or object. If you do nothing, your rights will be affected and
             you won’t get a payment.

             If you don’t want to be legally bound by the Settlement, you must exclude yourself from it by
             [DATE]. You may opt out online at www._____.com. Click on the “Opt Out” tab and provide the
             requested information. You may also opt out by calling 1-800-____ or mailing the Opt-Out form
             available at __________ to the Claims Administrator at:
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                  Case 3:22-cv-03131-JCS        Document 176-1               Filed 08/02/24       Page 86 of 86




             Simpluris Inc.
             3194-C Airport Loop Drive
             Costa Mesa, CA 92626

             Unless you exclude yourself, you won’t be able to sue or continue to sue Patreon for any claim
             regarding the subject matter of the claims in this case.

             If you stay in the Settlement (i.e., don’t exclude yourself), you may object to it or ask for
             permission for you or your own lawyer to appear and speak at the Final Approval Hearing—at
             your own cost—but you don’t have to. Objections and requests to appear are due by [DATE].

             The Final Approval Hearing will be held on [DATE], at [TIME], in Courtroom D on the 15th Floor
             of the San Francisco federal courthouse, located at 450 Golden Gate Avenue, San Francisco, CA
             94102, or via Zoom Webinar.

             More information about your options is in the detailed notice available at www._____.com, or you
             may contact Class Counsel with any questions:

                    x   Simon S. Grille. Telephone: (415) 981-4800; email: patreonvppa@girardsharp.com

             You may also access the docket in this case through the Court’s Public Access to Court Electronic
             Records (PACER) system at https://ecf.cand.uscourts.gov, or by visiting the office of the Clerk of
             the Court for the United States District Court for the Northern District of California at any of the
             Court’s locations between 9:00 a.m. and 4:00 p.m., Monday through Friday, excluding Court
             holidays.

             PLEASE DO NOT CALL THE COURT OR THE COURT CLERK’S OFFICE TO INQUIRE
             ABOUT THIS SETTLEMENT OR THE CLAIM PROCESS.

             BY ORDER OF THE U.S. DISTRICT COURT FOR THE NORTHERN DISTRICT OF
             CALIFORNIA

                            To unsubscribe from this list, please click on the following link: Unsubscribe
